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     1              IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF OHIO
     2                          EASTERN DIVISION
                                       -   -   -
     3
          IN RE:     NATIONAL                      : HON. DAN A. POLSTER
     4    PRESCRIPTION OPIATE                      : MDL NO. 2804
          LITIGATION                               :
     5                                             :
          APPLIES TO ALL CASES                     : NO.
     6                                             : 1:17-MD-2804
     7                      - HIGHLY CONFIDENTIAL -
     8          SUBJECT TO FURTHER CONFIDENTIALITY REVIEW
     9                                 -   -   -
                                December 7, 2018
    10                                 -   -   -
    11                         Videotaped sworn deposition of
    12               RICHARD J. FANELLI, Ph.D. (FACT), taken
    13               pursuant to notice, was held at DECHERT,
    14               LLP, 1095 6th Avenue, New York, New
    15               York, beginning at 1:02 p.m., on the
    16               above date, before Margaret M. Reihl, a
    17               Registered Professional Reporter,
    18               Certified Shorthand Reporter, Certified
    19               Realtime Reporter, and Notary Public.
    20
                                       -   -   -
    21
                         GOLKOW LITIGATION SERVICES
    22              877.370.3377 ph | 917.591.5672 fax
                                deps@golkow.com
    23
    24

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     1    A P P E A R A N C E S:
     2
          CRUEGER DICKINSON, LLC
     3    BY: ERIN DICKINSON, ESQUIRE
               CHARLES J. CRUEGER, ESQUIRE
     4    4532 N. Oakland Avenue
          Whitefish Bay, Wisconsin 53211
     5    (414) 210-3900
          cjc@cruegerdickinson.com
     6    Representing the Plaintiffs
     7
          SIMMONS HANLY CONROY, LLC
     8    BY: JO ANNA POLLOCK, ESQUIRE
          One Court Street
     9    Alton, Illinois 62002
          (618) 259-6365
    10    jpollock@simmonsfirm.com
          Representing the Plaintiffs
    11
    12    THE DUGAN LAW FIRM, LLC
          BY: BONNIE A. KENDRICK, ESQUIRE
    13    One Canal Place
          365 Canal Place, Suite 1000
    14    New Orleans, Louisiana 70130
          (504) 648-0180
    15    bonnie@dugan-lawfirm.com
          Representing the Plaintiffs
    16
    17    BRANSTETTER, STRANCH & JENNINGS, PLLC
          BY: MICHAEL G. STEWART, ESQUIRE
    18    The Freedom Center
          223 Rosa L. Parks Avenue
    19    Suite 200
          Nashville, Tennessee 37203
    20    (615) 254-8801
          mstewart@bsjfirm.com
    21    Representing the Tennessee Plaintiffs
    22
    23
    24

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     1    A P P E A R A N C E S: (cont'd)
     2    DECHERT LLP
          BY: ERIK W. SNAPP, ESQUIRE
     3    35 West Wacker Drive, Suite 3400
          Chicago, Illinois 60601-1634
     4    (312) 646-5828
          erik.snapp@dechert.com
     5       - AND -
          BY: ALYSSA CLARK, ESQUIRE
     6    1095 Avenue of the Americas
          New York, New York 10036-6797
     7    (212) 641-5673
          alyssa.clark@dechert.com
     8    Representing the Defendant,
          Purdue and the witness
     9
    10    WILLIAMS & CONNOLLY LLP
          BY: COLLEEN MCNAMARA, ESQUIRE
    11    725 Twelfth Street, N.W.
          Washington, D.C. 20005
    12    (202) 434-5186
          cmcnamara@wc.com
    13    Representing the Defendant,
          Cardinal Health
    14
    15    JONES DAY
          BY: SARAH CONWAY, ESQUIRE
    16    555 South Flower Street
          Fiftieth Floor
    17    Los Angeles, California 90071-2300
          (213) 489-3939
    18    sgconway@jonesday.com
          Representing the Defendant, Walmart
    19
    20    COVINGTON & BURLING LLP
          BY: MADISON ARENT, ESQUIRE
    21    The New York Times Building
          620 Eighth Avenue
    22    New York, New York 10018-1405
          (212) 841-1285
    23    marent@cov.com
          Representing the Defendant,
    24    McKesson Corporation

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     1    A P P E A R A N C E S: (cont'd)
     2
          ALLEGAERT BERGER & VOGEL LLP
     3    BY: CHRISTOPHER ALLEGAERT, ESQUIRE
          111 Broadway, 20th Floor
     4    New York, New York 10006
          (212) 616-7050
     5    callegaert@abv.com
          Representing the Defendant,
     6    Rochester Drug Co-operative, Inc.
     7
     8    ARNOLD & PORTER KAYE SCHOLER LLP
          BY: SAMUEL N. LONERGAN, ESQUIRE
     9    250 West 55th Street
          New York, New York 10019-9710
    10    (212) 836-7591
          samuel.lonergan@arnoldporter.com
    11    Representing the Defendants, Endo
          Health Solutions; Endo
    12    Pharmaceuticals, Inc.; Par
          Pharmaceutical Companies, Inc. f/k/a
    13    Par Pharmaceutical Holdings, Inc.
    14
          ALSO PRESENT:        HENRY MARTE, VIDEOGRAPHER
    15
    16                                  _ _ _
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     1    TELEPHONIC APPEARANCES:
     2
          HUGHES HUBBARD & REED LLP
     3    BY: TINA M. SCHAEFER, ESQUIRE
          2345 Grand Boulevard, Suite 2000
     4    Kansas City, Missouri 64108-2663
          (816) 709-4159
     5    tina.schaefer@hugheshubbard.com
          Representing the Defendant,
     6    UCB, Inc.
     7
          OFFICE OF THE SOUTH CAROLINA
     8    ATTORNEY GENERAL
          BY: ANNEMARIE B. MATHEWS, ESQUIRE
     9         REBECCA MCCORMACK, ESQUIRE
          Assistant Attorney General
    10    Consumer Protection and
          Antitrust Division
    11    P.O. Box 11549
          Columbia, South Carolina 29211-1549
    12    803-734-3679
          AMathews@scag.gov
    13    Representing the State of South Carolina
    14
          REED SMITH LLP
    15    BY: SUJEY S. HERRERA, ESQUIRE
          1001 Brickell Bay Drive, 9th Floor
    16    Miami, Florida 33131
          (786) 747-0299
    17    sherrera@reedsmith.com
          Representing the Defendant,
    18    AmerisourceBergen Drug Corp.
    19
          NELSON MULLINS
    20    BY: AMANDA S. KITTS, ESQUIRE
          Meridian, 17th Floor
    21    1320 Main Street
          Columbia, South Carolina 29201
    22    (803) 255-9594
          amanda.kitts@nelsonmullins.com
    23    Representing the Defendants,
          Purdue Pharma L.P.; Purdue Pharma, Inc.;
    24    and The Purdue Frederick Company

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     1    TELEPHONIC APPEARANCES (cont'd)
     2
          ROPES & GRAY LLP
     3    BY: SEAN B. KENNEDY, ESQUIRE
          Prudential Tower
     4    800 Boylston Street
          Boston, Massachusetts 02199
     5    sean.kennedy@ropesgray.com
          (617) 951-7282
     6    Representing the Defendant,
          Mallinckrodt
     7
     8    FOX ROTHSCHILD, LLP
          BY: MAURA L. BURKE, ESQUIRE
     9    2000 Market Street
          20th Floor
    10    Philadelphia, Pennsylvania 19103-3222
          mburke@foxrothschild.com
    11    (215) 299-2872
          Representing the Defendant,
    12    Validus Pharmaceuticals
    13
          CLARK MICHIE LLP
    14    BY: BRUCE CLARK, ESQUIRE
               CHRISTOPHER J. MICHIE, ESQUIRE
    15    220 Alexander Street
          Princeton, New Jersey 08540
    16    (609) 423-2142
          Representing the Defendant,
    17    Pernix Therapeutics Holdings, Inc.
    18
    19
    20
    21
    22
    23
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     1                               I N D E X
     2    WITNESS                                                PAGE
          RICHARD J. FANELLI, Ph.D.
     3              By Mr. Crueger                               11
                    By Mr. Stewart                               144
     4              By Mr. Snapp                                 175
     5                           _ _ _
     6                     E X H I B I T S
     7    NO.             DESCRIPTION                            PAGE
     8    Fanelli-1       Second Amended Notice
                          of Deposition                          12
     9
          Fanelli-2             Curriculum Vitae
    10                          Richard J. Fanelli,
                                Ph.D.                            13
    11
          Fanelli-3             Compensation chart
    12                          Richard Fanelli
                                PPLP004418086                    24
    13
          Fanelli-4             "3 Waves of the Rise in
    14                          Opioid Overdose Deaths"          30
    15    Fanelli-5             CDC Frequently Asked
                                Questions
    16                          (no Bates)                       33
    17    Fanelli-6             E-mail dated 9/17/04
                                Subject, Language
    18                          PPLPC005000012579                37
    19    Fanelli-7             E-mail string, top one
                                dated 3/9/12 Subject,
    20                          OxyContin labeling
                                PPLPC001000103302                58
    21
          Fanelli-8             HSGAC Minority Staff Report
    22                          Fueling an Epidemic
                                Report Two
    23                          Exposing the Financial Ties
                                Between Opioid Manufacturers
    24                          and Third Party Advocacy

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     1                           E X H I B I T S
     2    NO.                   DESCRIPTION              PAGE
     3    Fanelli-9             The Journal of Pain
                                Opioid Treatment Guidelines
     4                          Clinical Guidelines for the
                                Use of Chronic Opioid
     5                          Therapy in Chronic Noncancer
                                Pain
     6                          February 2009 (no Bates)               70
     7    Fanelli-10            Agreed Statement of Facts
                                United States of America
     8                          v. Purdue                              43
     9    Fanelli-11            E-mail dated 12/7/15
                                Subject, OxyContin dosing
    10                          PPLPC001000221769                      78
    11    Fanelli-12            NAVIPPRO Surveillance Report
                                1/1/2013-3/31/2013
    12                          PURCHl-001547793                       82
    13    Fanelli-13            E-mail dated 1/2/2012
                                Subject, TR IR Opioids
    14                          PPLPC001000100299                      90
    15    Fanelli-14            Abuse Deterrent IR Opioids
                                PPLPC001000100301                      94
    16
          Fanelli-15            OxyContin® (oxycodone
    17                          hydrochloride
                                controlled-release)
    18                          Tablets
                                NDA 022272
    19                          Overview and Interpretation
                                of the Post-Marketing
    20                          Program to Assess the
                                Effects of Reformulated
    21                          OxyContin on Opioid Abuse
                                in 3 Formal Studies, 1
    22                          Drug Utilization Study,
                                and Contextual Studies
    23                          September 2014
                                PPLPC034000945665                      99
    24

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     1                           E X H I B I T S
     2    NO.                   DESCRIPTION              PAGE
     3    Fanelli-16            FDA Briefing Document
                                Joint Meeting of the
     4                          Drug Safety and Risk
                                Management Advisory
     5                          Committee and the
                                Anesthetic and Analgesic
     6                          Drug Products Advisory
                                Committee
     7                          July 7th and 8th, 2015
                                PPLPC005000211723             103
     8
          Fanelli-17            E-mail dated 6/23/15
     9                          Subject, FDA Background
                                Package and Cover Letter
    10                          PPLPC001000209699                      104
    11    Fanelli-18            E-mails dated 6/23/15
                                Subject, FDA AC on
    12                          OxyContin and the FDA
                                Briefing document
    13                          PPLPC005000211721                      106
    14    Fanelli-19            E-mail dated 6/26/15
                                Subject, Purdue's decision
    15                          on OxyContin sNDA S-026
                                PPLPC002000219089                      110
    16
          Fanelli-20            E-mail dated 12/24/15
    17                          Subject,Discussion of
                                Opioid Abuse Deterrence
    18                          Policy with Purdue on
                                December 14th
    19                          PPLPC001000222698                      116
    20
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      1                            E X H I B I T S
      2    NO.                    DESCRIPTION                      PAGE
      3
           Fanelli-21             Branded Industry
      4                           Perspective on the
                                  Generics ADF Guidance
      5                           FDA Public Meeting on
                                  Pre-Market Evaluation
      6                           of Abuse-Deterrent
                                  Properties of Opioid
      7                           Drug Products
                                  31 October 2016
      8                           (no Bates)              126
      9    Fanelli-22             E-mail dated 3/27/09
                                  Subject, Grunenthal and
     10                           McGinity License
                                  PPLPC026000046291       139
     11
           Fanelli-23             E-mails 5/2/15
     12                           Subject, Draft Briefing
                                  Document for OxyContin
     13                           Epi Ad Comm External
                                  Mock Friday May 8th
     14                           PPLPC001000204177       148
     15    Fanelli-24             E-mails dated 6/26/03
                                  Subject, Professional
     16                           associations and the
                                  potential FDA hearing
     17                           PPLPC009000092514       161
     18    Fanelli-25             E-mails dated 12/17/09
                                  Subject, Providing Relief
     19                           Preventing Abuse
                                  Brochure (PPXX40)
     20                           PPLPC002000066300       165
     21                                 _ _ _
     22
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      1                         THE VIDEOGRAPHER:          All right.
      2               The time is 1:02 p.m.            We are on the
      3               record.      Will the court reporter please
      4               administer the oath to the witness.
      5                         ... RICHARD J. FANELLI, Ph.D.,
      6               having been duly sworn as a witness, was
      7               examined and testified as follows:
      8                         MR. SNAPP:       Could I just make a
      9               statement for the record and confirm
     10               that everyone in the room and on the
     11               phone agrees to be bound by the MDL
     12               confidentiality protective order or the
     13               confidentiality protective order in the
     14               applicable state actions.             If that is
     15               not the case, please speak up now.                 No
     16               one spoke up, so please proceed.                Thank
     17               you.
     18    BY MR. CRUEGER:
     19               Q.        Good afternoon.
     20               A.        Good afternoon.
     21               Q.        So this is your fact deposition
     22    after your 30(b)(6) deposition.               There's going
     23    to be a little bit of overlap by necessity, but
     24    we're trying to avoid that, and we will get

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      1    started.
      2                         What did you do to prepare for
      3    your fact deposition, anything different?
      4               A.        No.
      5               Q.        We asked you before, this is not
      6    the first time you've been deposed, obviously,
      7    correct?
      8               A.        Correct.
      9               Q.        I think you said you were deposed
     10    twice already?
     11               A.        Yes.
     12               Q.        Have you ever testified at trial?
     13               A.        No.
     14                         MR. CRUEGER:        Given our system of
     15               the massive table, I'm just going to
     16               hand exhibits around like we were doing
     17               before.
     18                         (Document marked for
     19               identification as Exhibit Fanelli-1.)
     20    BY MR. CRUEGER:
     21               Q.        So Exhibit 1 is just the Second
     22    Amended Notice of Deposition.
     23                         Have you ever seen this?
     24               A.        I don't believe so.

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      1               Q.        Okay.
      2                         MR. SNAPP:       Could you hand around
      3               a second copy when you hand them around,
      4               please.
      5                         MR. CRUEGER:        Yeah, I just
      6               noticed that.
      7                         I'm going to hand you what's
      8               Exhibit 2, which is a copy of your CV.
      9                         (Document marked for
     10               identification as Exhibit Fanelli-2.)
     11    BY MR. CRUEGER:
     12               Q.        Is this a true and accurate copy
     13    of your CV, Dr. Fanelli?
     14               A.        Yes.
     15               Q.        Let's just make a quick record of
     16    this.     How long have you worked at Purdue?
     17               A.        Since December 2000.
     18               Q.        And are you an employee?
     19               A.        Yes.
     20               Q.        Are you an employee of Purdue
     21    Pharma, L.P.?
     22               A.        Yes.
     23               Q.        Are you an employee of any of the
     24    other entities?

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      1               A.        That's my legal employer.
      2               Q.        Do you work for any of the other
      3    Purdue entities?
      4               A.        Depending on -- as the head of
      5    regulatory, there are other entities.                  For
      6    instance, we end licensed the product, and that
      7    was under Purdue Pharmaceutical Products, L.P.
      8    So that's an example.
      9               Q.        And just so that we speak in
     10    clear English, end licensing means what?
     11               A.        A product that another sponsor
     12    had the legal or the regulatory responsibility
     13    for that then became the regulatory and
     14    ownership of Purdue.
     15               Q.        A sponsor being -- is that
     16    another Purdue affiliated company?
     17               A.        No, no, that's an outside,
     18    outside of the Purdue group of companies.
     19               Q.        So is that just like licensing
     20    and patent?
     21               A.        Yes, or a product.
     22               Q.        Okay.     Do you do any work for
     23    Rhodes Pharmaceuticals?
     24               A.        No.

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      1               Q.        Could you tell me what Rhodes
      2    Pharmaceuticals is?
      3               A.        Rhodes Pharmaceuticals, there's
      4    -- yeah.      Rhodes Pharmaceuticals is -- has
      5    generic products, you know, is my understanding.
      6    I don't know the full -- as I say, I'm not part
      7    of that company.         We do interact.
      8               Q.        And what do you mean when you say
      9    you interact, what do you do?
     10               A.        An example is MS Contin, which
     11    Purdue got approved, was -- they sell a generic
     12    of that product, and they are currently, at
     13    least as of today, they are commercializing the
     14    product.
     15               Q.        "They" being Rhodes?
     16               A.        Rhodes Pharma -- or the firm you
     17    said, sorry.
     18               Q.        Rhodes Pharmaceutical?
     19               A.        Yeah.
     20               Q.        Or Rhodes Pharma?
     21               A.        Yeah.
     22               Q.        We can call it the same way.              We
     23    don't have to say the long word all the time.
     24               A.        Yes.

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      1               Q.        Do they also sell an
      2    immediate-release Oxycodone product?
      3               A.        I believe they do.
      4               Q.        And they sell generics, correct?
      5               A.        Yes.
      6               Q.        And are they owned by the same
      7    owners of Purdue?
      8                         MR. SNAPP:       Object to the form.
      9                         THE WITNESS:        Ownership, I'm not
     10               aware of the -- you know, the details of
     11               the ownership.         I know that the Board of
     12               Directors -- you know, it's been split
     13               up.    There are common individuals on the
     14               different boards, those boards.
     15    BY MR. CRUEGER:
     16               Q.        The different boards being the
     17    boards of Rhodes Pharma and the boards of?
     18               A.        Purdue Pharma.
     19               Q.        Purdue Pharma?
     20               A.        Correct.
     21               Q.        Now, you have a Master's degree?
     22               A.        I have a Ph.D.         I have a Master's
     23    degree as well.
     24               Q.        So, yes, you have a Master's

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      1    degree?
      2               A.        Yes, I do.       Sorry.
      3               Q.        What is your Master's in?
      4               A.        It's in -- I'm trying to remember
      5    what we called it back then -- psychobiology or
      6    physiological psychology.
      7               Q.        Could you just explain very
      8    briefly what that is?
      9               A.        Sure.     It was -- when I was at
     10    the State University of New York at Binghamton,
     11    part of that, the Ph.D. program had a interim
     12    Master's, where an area of research is defended
     13    in a Master's thesis that is written, and that's
     14    what that is.
     15                         Mine was looking at behavioral of
     16    different animals in learning models.
     17               Q.        And now we'll get to your Ph.D.
     18                         You have a Ph.D.?
     19               A.        Yes, I do.
     20               Q.        And what's your Ph.D. in?
     21               A.        It's in physiological psychology
     22    is the -- which I think I referred to earlier --
     23    is similar to neuroscience today.
     24               Q.        And to explain that to someone

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      1    who is not a Ph.D. in those areas, what does
      2    that actually mean?           Like, what is that a degree
      3    in?
      4               A.        So a Ph.D. is a -- requires a
      5    thesis and a years of research, well, it can be
      6    whatever it is with a novel test of a
      7    hypothesis, and it's a course of study and
      8    research to defend -- that is defended and a
      9    degree is granted.
     10               Q.        I was unclear.         What is the field
     11    that you have a Ph.D. in?             Can you explain that
     12    in less technical terms than the title?
     13               A.        Okay, sorry.        I guess in terms of
     14    the scientific area?
     15               Q.        Yes.
     16               A.        I guess the area of study would
     17    be the functioning of certain brain regions in
     18    different learning and memory models.
     19               Q.        Now, you haven't always worked at
     20    Purdue Pharma, correct?
     21               A.        That's correct.
     22               Q.        So I'm on your CV.          If you look
     23    on page 2 it says from July of 1985 to April of
     24    1988, you worked at the NIDA Addiction Research

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      1    Center?
      2               A.        Yes.
      3               Q.        What did you do there?
      4               A.        Numbers of experiments across the
      5    time.     I was a staff fellow, which reported in
      6    to laboratory that was investigating the role --
      7    similar as in my Ph.D, but expanded
      8    neurochemical systems around the behavior and as
      9    it relates to addiction.
     10               Q.        Addiction to what?
     11               A.        On the project we were looking
     12    at, it was on over the course of three years
     13    multiple investigations that were of -- part of
     14    the -- and, by the way, NIDA stands for the
     15    National Institute on Drug Abuse, so that were a
     16    part of the course of that.
     17               Q.        Did any of your study involve
     18    opioids?
     19               A.        Yes.
     20               Q.        What type of opioids?
     21               A.        So I was looking at -- and
     22    there's -- there are publications.                 Again, I was
     23    in Edy London's lab, and we looked at metabolic
     24    glucose, it's similar to a PET imaging of the

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      1    brain in animals, looking at areas of the brain
      2    that were involved of substances of abuse, and
      3    we looked at different types of opiates, B1
      4    agonists, delta agonists, and looked for the
      5    different areas of the brains that were
      6    involved.
      7               Q.        So you were studying the effect
      8    on the brain?
      9               A.        Yes.
     10               Q.        Very quickly, you worked at
     11    Bayer?
     12               A.        Correct.
     13               Q.        And then at Bayer you were
     14    doing -- I guess we would call you're doing
     15    science; you weren't always doing regulatory
     16    work?
     17               A.        Correct.      For the first -- from I
     18    think -- well, it says on there.                Started in
     19    '88 and moved into regulatory in '97, so almost
     20    a decade.
     21               Q.        And then from Bayer you came over
     22    to Purdue Pharma in December of 2000, correct?
     23               A.        Correct.
     24               Q.        Now, do you have a role in the

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      1    approval of reformulated OxyContin?
      2               A.        In the approval?         You mean in
      3    terms of -- well --
      4               Q.        Well, let's just talk about
      5    reformulated OxyContin.
      6               A.        Yes.
      7               Q.        Can we agree that's supposedly
      8    the abuse deterrent --
      9               A.        Correct.
     10               Q.        -- version of OxyContin?
     11               A.        Correct.
     12               Q.        Okay.     Just as a reminder, I have
     13    to finish and you have to start; otherwise, the
     14    court reporter gets angry.
     15               A.        I apologize.
     16               Q.        And now, the FDA approved
     17    reformulated OxyContin, correct?
     18               A.        Correct.
     19               Q.        Did you have any role in
     20    submitting those documents to the FDA?
     21               A.        For the NDA for the reformulated?
     22               Q.        Yes.
     23               A.        I was not the -- we talked about
     24    FDA liaisons.        Do you want me to -- anyway, I

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      1    was not the FDA liaison on that submission.
      2               Q.        Who was?
      3               A.        It was either -- we could look at
      4    the submission letter.            I believe it might have
      5    been Beth Conley.
      6               Q.        Do you have a role now as --
      7               A.        Yes.
      8               Q.        -- working with the ADF and
      9    reformulated OxyContin?
     10               A.        Yes.
     11               Q.        And what is that role?
     12               A.        I am now the FDA liaison on that
     13    product, so I would be the prime person
     14    communicating with FDA on that work.
     15               Q.        And when did you take on that
     16    role?
     17               A.        Beth Conley left Purdue -- it's
     18    within a year.         So when she left the company, I
     19    took that over.
     20               Q.        Just to talk quickly, how are --
     21    you said you were an employee of Purdue Pharma,
     22    correct?
     23               A.        Yes.
     24               Q.        How are you paid, a salary?

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      1               A.        Yes.
      2               Q.        Do you receive a bonus?
      3               A.        Yes.
      4               Q.        How is your bonus calculated?
      5               A.        It's based on -- it's changed.
      6    You want today, 75% based on company performance
      7    and 25% on meeting my personal objectives.                    It's
      8    actually company performance against the
      9    corporate objectives.
     10               Q.        Just briefly explain what you
     11    mean by that.        Is it tied to sales, or is it
     12    tied to some pre -- your -- that part of your
     13    bonus, or is it tied to some predetermined
     14    metric?
     15               A.        It's not tied to sales.            It's
     16    tied to -- so I'm an R&D -- my personal is
     17    beginning of the year we have objectives for
     18    myself as the head of regulatory, and it's
     19    dependent on -- the 25% is how well we do
     20    against those objectives, and then the
     21    corporation has objectives at the beginning of
     22    the year and how well the corporation does
     23    against those objectives.
     24               Q.        And by "well," that's due --

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      1    that's measured in revenue?
      2                         MR. SNAPP:       Object to the form.
      3                         THE WITNESS:        I don't -- that
      4               could be one of the objectives on there,
      5               but I think it may be one of the
      6               objectives.
      7    BY MR. CRUEGER:
      8               Q.        Can you tell me what the
      9    objectives are?
     10               A.        No, I can't.
     11                         (Document marked for
     12               identification as Exhibit Fanelli-3.)
     13    BY MR. CRUEGER:
     14               Q.        I've just passed over what is
     15    Exhibit 3.
     16                         By the way, just on Exhibit 2, I
     17    don't know if you know, your Social Security
     18    number is on there.           You might want to --
     19               A.        It's not on -- yeah.
     20               Q.        You might want to delete that off
     21    so...
     22               A.        Thank you.
     23               Q.        Exhibit 3 I just want to ask you
     24    if this looks like a true and accurate report of

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      1    your salary from 2000 to obviously June of 2018?
      2               A.        It appears to be.
      3               Q.        Okay.
      4               A.        Sorry, can I --
      5               Q.        Sure.
      6               A.        (Witness reviews document.)
      7               Q.        Are you looking at Exhibit 3?
      8               A.        Yes.     Sorry.
      9               Q.        Okay.
     10               A.        Oh, okay.       So 2018 must be part
     11    year.
     12               Q.        Yes, yes, it goes through June of
     13    2018.
     14               A.        Got it, thank you.          Then it's
     15    accurate.
     16               Q.        Mr. Fanelli, we're going to talk
     17    a little bit about really kind of three general
     18    areas, a little bit about your role in the
     19    company and what you're doing, talk a little bit
     20    about the ADF and what that is, the abuse
     21    deterrent formula.
     22                         Is it a formula or formulation?
     23               A.        Formulation.
     24               Q.        And then we're just going to talk

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      1    about the process of basically the history of
      2    where that -- where the abuse deterrent
      3    formulation started and then where is it going,
      4    okay?
      5               A.        Yes.
      6               Q.        So those would be the three
      7    general things.
      8                         So let's just, you know, lay a
      9    little background to some of this is Purdue
     10    sells OxyContin, correct?
     11               A.        Say it again.
     12               Q.        Purdue sells OxyContin?
     13               A.        Yes.
     14               Q.        And OxyContin, the primary active
     15    drug is -- ingredient is Oxycodone?
     16               A.        Yes.
     17               Q.        And that's an opioid, correct?
     18               A.        Correct.
     19               Q.        And it's a dangerous drug,
     20    correct?
     21               A.        It's a new opiate agonist that's
     22    a Schedule II, which is the highest level of
     23    approved agents that -- in that class for abuse
     24    and diversion, yeah, with risks of abuse and

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      1    diversion.
      2               Q.        So it's dangerous, correct?
      3               A.        Yes.
      4               Q.        And it can kill you?
      5                         MR. SNAPP:       Object to the form.
      6                         THE WITNESS:        Yes, if -- yeah, go
      7               ahead.
      8    BY MR. CRUEGER:
      9               Q.        And it can kill you by
     10    overdosing, correct?
     11               A.        There have been overdoses with
     12    Oxycodone, yes.
     13               Q.        But that's -- you take too much
     14    of it and you overdose and then you die,
     15    correct?
     16                         MR. SNAPP:       Object to the form.
     17                         THE WITNESS:        Yes.
     18    BY MR. CRUEGER:
     19               Q.        So and exactly how does it kill
     20    someone?
     21               A.        I'm not a physician.           What's
     22    reported in the package insert are risks related
     23    to the product.         The primary risk is respiratory
     24    depression, and that's the prime risk around an

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      1    overdose with new agonists.
      2               Q.        So what is respiratory
      3    depression?
      4               A.        It's depression of the breathing,
      5    so there would be a slowing of the breathing
      6    rate.
      7               Q.        It slows down your breathing, and
      8    eventually your lungs fill up with liquid,
      9    correct?
     10                         MR. SNAPP:       Object to the form.
     11                         THE WITNESS:        I'm not aware of
     12               the full -- it's not part of my
     13               background.
     14    BY MR. CRUEGER:
     15               Q.        So you know it can kill you, but
     16    you don't know exactly how?
     17                         MR. SNAPP:       Object to the form.
     18                         THE WITNESS:        I don't know.        You
     19               asked about filling up the lungs.                As I
     20               say, the primary risk is around
     21               respiratory depression.
     22    BY MR. CRUEGER:
     23               Q.        What I'm just -- what I'm trying
     24    to do is get rid of the sanitation we tend to

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      1    put around these things.             We try to clean up the
      2    whole process, and respiratory depression is a
      3    very nice word to describe you stop breathing
      4    and you die, correct?
      5                         MR. SNAPP:       Object to the form.
      6                         THE WITNESS:        It is talking about
      7               the respiratory rate, if it falls too
      8               low, it can result in death, yes.
      9    BY MR. CRUEGER:
     10               Q.        And so when we talk about people
     11    overdosing, that's the actual thing that happens
     12    to them, correct?
     13                         MR. SNAPP:       Object to the form.
     14                         THE WITNESS:        That's one of the
     15               things, yes.
     16    BY MR. CRUEGER:
     17               Q.        And it's also -- OxyContin is
     18    also dangerous because -- or opioids in general
     19    are also dangerous because there's a risk of
     20    addiction, correct?
     21               A.        Yes, there is a risk of
     22    addiction, it's part of the warnings, right,
     23    listed in the black box warning as well.
     24                         MR. CRUEGER:        So I'm going to

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      1               hand you what's been labeled Exhibit 4.
      2                         (Document marked for
      3               identification as Exhibit Fanelli-4.)
      4    BY MR. CRUEGER:
      5               Q.        Now, you're aware there's been a
      6    rise in prescription overdose deaths over the
      7    past ten years, correct?
      8               A.        Yes.
      9               Q.        Have you seen this graph before?
     10               A.        It looks familiar.          I don't know
     11    if it's the exact one, but I've seen versions of
     12    this in the data.
     13               Q.        And the purple line "Commonly
     14    Prescribed Opioids," that would include
     15    OxyContin, correct?
     16               A.        Correct.
     17               Q.        And it's grown pretty high since
     18    1999, correct?
     19                         MR. SNAPP:       Object to the form.
     20                         THE WITNESS:        According to this
     21               presentation, it has grown over this
     22               time period.
     23    BY MR. CRUEGER:
     24               Q.        And in 1999 it was just a little

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      1    over one death per 100,000 people, correct, just
      2    commonly prescribed opioids, not all of them, so
      3    the purple line?
      4               A.        That's what's on this graph.
      5    That's what it notes.
      6               Q.        And by 2007 it looks like it's a
      7    little bit over four people, four deaths per
      8    100,000 people, correct?
      9               A.        Yes.
     10               Q.        And then by 2011 it seems to be
     11    getting up to about almost five deaths per
     12    100,000 people, correct?
     13                         MR. SNAPP:       Object to the form.
     14                         THE WITNESS:        That's what this
     15               figure is showing, yes.
     16    BY MR. CRUEGER:
     17               Q.        And by 2015 it's still up, it
     18    looks like it's even a little higher than five
     19    deaths per 100,000 people, correct?
     20                         MR. SNAPP:       Object to the form.
     21                         THE WITNESS:        It looks to me like
     22               it's a little lower but --
     23    BY MR. CRUEGER:
     24               Q.        It's a little tough to tell

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      1    without the graphing, but it's --
      2               A.        Yes, and without the data.
      3               Q.        So -- and it's been growing as
      4    the number of prescriptions in the United States
      5    has been growing too, correct?
      6                         MR. SNAPP:       Object to the form.
      7                         THE WITNESS:        This graph is
      8               deaths per 100,000 prescriptions.
      9    BY MR. CRUEGER:
     10               Q.        100,000 people?
     11               A.        Oh, population, right.
     12               Q.        So what I'm asking, do you know
     13    whether the amount of -- the number of
     14    prescriptions for opioids has increased from
     15    1999 to 2016?
     16               A.        It has increased since 1999.
     17               Q.        And so has the number of deaths?
     18                         MR. SNAPP:       Object to the form.
     19                         THE WITNESS:        That's correct.
     20    BY MR. CRUEGER:
     21               Q.        Do you think, Mr. Fanelli, that
     22    there's a correlation between the increase in
     23    the number of prescriptions and the increase in
     24    overdose deaths from prescription opioids?

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      1                         MR. SNAPP:       Object to the form.
      2                         THE WITNESS:        There is -- there
      3               is an increase or at least the
      4               prescription opioids are -- as of today,
      5               there's a significant decrease since the
      6               time the graph you show here, but there
      7               has been a increase in both of them, but
      8               correlation does not indicate causation,
      9               but there has been a correlation in the
     10               two.
     11                         MR. CRUEGER:        I'll hand you
     12               Exhibit 5.
     13                         (Document marked for
     14               identification as Exhibit Fanelli-5.)
     15    BY MR. CRUEGER:
     16               Q.        Do you know, Mr. Fanelli -- Dr.
     17    Fanelli, between with the increase in
     18    prescriptions for opioids and the increase of
     19    number of deaths, has there been any decrease in
     20    reported pain in the United States?
     21               A.        I'm not aware of the numbers of
     22    reporting pain.
     23               Q.        So do you ever go on the CDC
     24    website?

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      1               A.        I have.
      2               Q.        And do you ever go on the CDC
      3    website and just see the information about the
      4    prescription opioids?
      5               A.        In the past I have done that.
      6               Q.        So this is a copy of -- Exhibit 5
      7    is a copy from the frequently asked question
      8    section of the CDC website.
      9                         Have you looked through the
     10    frequently asked questions before?
     11               A.        No, I have not.
     12               Q.        So, according to here, it says,
     13    the second sentence in the "Why is the guideline
     14    needed in the United States?"
     15                         Do you see that section?
     16               A.        Yes.
     17               Q.        So it says, "The amount of
     18    opioids prescribed and sold in the United States
     19    quadrupled since 1999, yet there has not been an
     20    overall change in the amount of pain that
     21    Americans report."
     22                         Have I read that correctly?
     23               A.        Yes.
     24               Q.        Do you have any information to

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      1    dispute that?
      2               A.        No, I don't have any different
      3    information.
      4               Q.        Do you know if Purdue has any
      5    information to dispute that?
      6               A.        I'm not aware of whether or not
      7    Purdue has that information.
      8               Q.        So who is Dr. Haddox or Haddox,
      9    H-a-d-d --
     10               A.        Haddox is correct.          Dr. David
     11    Haddox is, was, I believe he still is head of
     12    our health policy I think was the name of the
     13    department.       He was on the org charts we talked
     14    about yesterday.
     15               Q.        What's his role at Purdue?
     16               A.        I know that he was head of that
     17    department.
     18               Q.        But what does that department do?
     19               A.        Health policy -- should I pass
     20    this?
     21               Q.        Just set that aside for a second.
     22               A.        Yeah, okay, sorry.
     23               Q.        It's just the process of getting
     24    it around the large table to you.

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      1               A.        Understand.       So your question
      2    again?
      3               Q.        I mean, you said Dr. Haddox is in
      4    health policy.
      5                         What does he do, though, at
      6    Purdue?
      7               A.        So health policy group, it's
      8    moved around in terms of it was a part of
      9    medical affairs or an independent department, so
     10    it's changed over time, but they work on and
     11    address policy issues in the corporation around
     12    healthcare.
     13               Q.        Can you give me an example?
     14               A.        So, for instance, if there are --
     15    you know what, my interactions with Dr. Haddox
     16    in that group are mostly around submissions to
     17    FDA of -- if there was something they came up
     18    with that was going to be submitted to the
     19    agency.      So most of my interactions with
     20    Dr. Haddox were in group discussions of those.
     21    Whether or not, for instance, there were
     22    guidelines around treatment of pain that were
     23    being discussed and if we were -- there's one
     24    example, if Purdue was going to provide some

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      1    input into that public discussion.
      2                         (Document marked for
      3               identification as Exhibit Fanelli-6.)
      4    BY MR. CRUEGER:
      5               Q.        So if you look at what's been
      6    labeled Exhibit 6 that was just passed to you.
      7               A.        Yes.
      8               Q.        This is an e-mail from Dr. Haddox
      9    to you, correct?
     10               A.        Yes.
     11               Q.        And it's sent in September -- on
     12    September 17th, 2004, correct?
     13               A.        Yes.
     14               Q.        And at this time I believe,
     15    according to your resume, you were the senior
     16    director of regulatory affairs?
     17               A.        Correct.
     18               Q.        So what was your job as a senior
     19    director of regulatory affairs during this time?
     20    You can take time to read the e-mail if you want
     21    to.
     22               A.        Yeah, could I do that? (Witness
     23    reviews document.)          So I'm trying to remember --
     24    you asked -- can you ask the question again.

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      1               Q.        I was asking what were your job
      2    responsibilities as a senior director in this
      3    time frame, 2004?
      4               A.        So I'm trying to remember if I
      5    was the head of the group, but I think that
      6    happened in 2006.          So I would have been an
      7    individual FDA liaison but one of the senior
      8    ones at that time.
      9               Q.        And he's sending you the subject
     10    is language, so why is Dr. Haddox sending you
     11    this, this e-mail?
     12               A.        I don't recall why Dr. Haddox
     13    sent it.      It has a D, it looks like it's --
     14    well, I'm speculating.            It's taken from
     15    something else.
     16               Q.        And he's talking about -- well,
     17    I'll let -- be curious in your understanding,
     18    what is Dr. Haddox talking about in this e-mail?
     19                         MR. SNAPP:       Object to the form.
     20                         THE WITNESS:        Again, it's, you
     21               know, seeing that number D in front of
     22               it, it looks like he's taken this from
     23               somewhere else and sent it to me, but
     24               I -- and it just says language, so I'm

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      1               not sure.       You know, I don't recall
      2               back, you know, that long ago why he
      3               would have sent that to me.
      4    BY MR. CRUEGER:
      5               Q.        And what is this information that
      6    he's sending you?
      7               A.        He talks about data from the
      8    NASDUH, it's sometimes referred to, or SAMHSA,
      9    National Survey on Drug Use and Health.
     10               Q.        And what is the data about?
     11               A.        It's talking about nonmedical use
     12    of prescription analgesics.
     13               Q.        And the last sentence, can you
     14    read that, please.
     15               A.        "This fact can be used to
     16    interpret the following data to make valid
     17    inferences about the rate of iatrogenic
     18    addiction."
     19               Q.        And can you just briefly explain
     20    what is iatrogenic addiction?
     21               A.        It's a term that has been used
     22    for addiction for increases in -- for instance,
     23    increases in opiate requirements around pain
     24    when -- with taking the medication is my

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      1    understanding.
      2               Q.        Is it addiction that occurs when
      3    a patient takes medicine, an opioid pursuant to
      4    a prescription?
      5                         MR. SNAPP:       Object to the form.
      6                         THE WITNESS:        So as we talked
      7               about, my experience and work at the
      8               Addiction Research Center is on the
      9               basic physiologic mechanisms.
     10                         This is a clinical definition,
     11               but my understanding, I'm not the expert
     12               in that area, but I don't have -- I
     13               don't disagree with your conclusion.
     14    BY MR. CRUEGER:
     15               Q.        And they have some numbers in
     16    here, one is for 2002 that 8.5% met the DSM-IV
     17    criteria for dependence to pain relievers and
     18    that number in 2003 was 8.7%, 8.07%, correct?
     19               A.        That's what it says here, yes.
     20               Q.        Are those numbers high?
     21                         MR. SNAPP:       Object to the form.
     22    BY MR. CRUEGER:
     23               Q.        In your opinion?
     24               A.        I think we've talked about the --

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      1    I have no scientific basis to know -- to qualify
      2    that as such.
      3               Q.        So what does that mean when you
      4    say you have no scientific basis, that you just
      5    don't know if that number is high or if it's
      6    low?
      7                         MR. SNAPP:       Object to the form.
      8                         THE WITNESS:        How to rate those
      9               numbers based on other factors in the
     10               environment or in the -- yeah, just
     11               leave it at that.
     12    BY MR. CRUEGER:
     13               Q.        And as of 2004, am I correct that
     14    Purdue had no study about the risk of addiction
     15    among patients treated with extended-release
     16    opioids?
     17                         MR. SNAPP:       Object to the form.
     18                         THE WITNESS:        What do you mean by
     19               "study"?
     20    BY MR. CRUEGER:
     21               Q.        Had Purdue done any study, a
     22    controlled study, any type of study to get an
     23    idea about the risk of addiction among patients
     24    who were treated with extended-release opioids

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      1    for chronic pain?
      2                         MR. SNAPP:       Object to the form.
      3                         THE WITNESS:        No.
      4    BY MR. CRUEGER:
      5               Q.        And you mentioned that you had
      6    talked to Dr. Haddox about guidelines?
      7               A.        (Witness shakes head.)
      8               Q.        Is that yes or no?          You just have
      9    to...
     10               A.        Yes.     I don't remember the
     11    details.      For instance, the CDC guideline, I
     12    think we referred to it, I know I had a
     13    conversation about that, but, again, it wouldn't
     14    have been part of my function as the head of
     15    regulatory to -- it would be more of, you know,
     16    how do we interact with FDA about those, and
     17    that would have been the role.
     18               Q.        So Dr. Haddox, was he trying to
     19    get the -- would he be talking to you about the
     20    guidelines because he wanted the FDA to do
     21    something about the guidelines?
     22                         MR. SNAPP:       Object to the form.
     23    BY MR. CRUEGER:
     24               Q.        I'm trying to understand why

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      1    would he be talking to you about the guidelines?
      2               A.        Guidelines from government agency
      3    or physician groups or whatever would be
      4    reviewed, and it probably wasn't a one-on-one.
      5    It might have been in a discussion, does it have
      6    any impact on our submissions.
      7               Q.        And these are guidelines for the
      8    treatment using opioids to treat chronic pain?
      9               A.        It could be.
     10               Q.        Now, I only have one copy of
     11    this, but we've talked a little about -- it's
     12    been mentioned a few times that Purdue pled
     13    guilty, correct?
     14               A.        We have talked about that, yes.
     15               Q.        And they pled guilty to making
     16    false and misleading statements about the risk
     17    of addiction, correct?
     18                         MR. SNAPP:       Object to the form.
     19                         THE WITNESS:        Yes.
     20                         MR. CRUEGER:        I'm going to hand
     21               you what's been labeled Exhibit 10.
     22                         (Document marked for
     23               identification as Exhibit Fanelli-10.)
     24    BY MR. CRUEGER:

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      1               Q.        Dr. Fanelli, so let's just do a
      2    few background things before we move on to that.
      3                         So you know that Purdue pled
      4    guilty, correct?
      5               A.        Yes.
      6               Q.        And it was 2007, correct?             I'll
      7    represent to you it was 2007.
      8               A.        Yes.
      9               Q.        And you were working at Purdue at
     10    the time, correct?
     11               A.        Yes.
     12               Q.        And you had a fairly high up
     13    position in the company at the time, correct?
     14                         MR. SNAPP:       Object to the form.
     15                         THE WITNESS:        I was we say a
     16               senior director at the time.
     17    BY MR. CRUEGER:
     18               Q.        Did you ever read the indictment,
     19    the Information?
     20               A.        No.
     21               Q.        Did you ever read the Agreed
     22    Statement of Facts?
     23               A.        No.
     24               Q.        Why not?

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      1               A.        That was the responsibility of
      2    others.      I learned from them what was
      3    Purdue's -- Purdue's response as it relates to
      4    the interaction with the agency, the FDA.
      5               Q.        But aside from your
      6    responsibilities as an employee, it's not every
      7    day that your employer pleads guilty to a
      8    federal crime, is it?
      9                         MR. SNAPP:       Object to the form.
     10                         THE WITNESS:        Can you repeat the
     11               question.       Sorry.
     12    BY MR. CRUEGER:
     13               Q.        It's pretty unusual for your
     14    employer to plead guilty to a federal crime,
     15    correct?
     16               A.        Yes.
     17               Q.        And so my natural inclination
     18    would be to figure out what my employer did that
     19    was considered to be a federal crime, so I'm
     20    wondering, did you do anything to figure out
     21    what Purdue did that it pled guilty to a federal
     22    crime?
     23                         MR. SNAPP:       Object to the form.
     24                         THE WITNESS:        I relied on my

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      1               colleagues who examined that,
      2               specifically members of the law
      3               department, but others, to be informed
      4               on it.
      5    BY MR. CRUEGER:
      6               Q.        And how did you learn of the --
      7    of the information and guilty plea?
      8               A.        I thought that -- that's what I
      9    just said, from my colleagues who had the
     10    responsibility to review that.
     11               Q.        But I'm asking, so was there an
     12    e-mail that went around, or did some person come
     13    and tell you, or did they have a meeting of all
     14    the employees, or how did that message go around
     15    the company?
     16               A.        You know, I don't remember the
     17    exact details.
     18               Q.        And you said your colleagues, so
     19    who were you talking to, like who talked to you
     20    about the -- to explain the guilty plea to you?
     21               A.        It would have been members of the
     22    law department.
     23               Q.        So really today is kind of like
     24    the first day that you've -- today and yesterday

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      1    are really the first days that you've looked at
      2    the Agreed Statement of Facts and the
      3    Information and the guilty plea?
      4                         MR. SNAPP:       Object to the form.
      5                         THE WITNESS:        Yes.
      6    BY MR. CRUEGER:
      7               Q.        Did you look at them -- you
      8    didn't look at them to prepare for your --
      9    either the 30(b)(6) or your fact deposition?
     10               A.        I can't remember -- I can't
     11    remember if I did or not.
     12               Q.        So you've never looked through
     13    the Agreed Statement of Facts and figured out
     14    exactly what Purdue did to violate the law?
     15                         MR. SNAPP:       Object to the form.
     16                         THE WITNESS:        Correct.      I relied
     17               on my colleagues to provide that
     18               information.
     19    BY MR. CRUEGER:
     20               Q.        If you can go to page 5 of that
     21    exhibit, the agreed statement of facts, so it's
     22    paragraph 20.        And it says, "Beginning on or
     23    about December 12th, 1995, and continuing until
     24    on or about June 30th, 2001, certain Purdue

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      1    supervisors and employees, with the intent to
      2    defraud or mislead, marketed and promoted
      3    OxyContin as less addictive, less subject to
      4    abuse and diversion, and less likely to cause
      5    tolerance and withdrawal than other pain
      6    medications, as follows."
      7                         And I would just like you to read
      8    out loud paragraph 20b.
      9                         MR. SNAPP:       Object to the form.
     10                         THE WITNESS:        Told Purdue sales
     11               representatives they could tell
     12               healthcare providers that OxyContin
     13               potentially causes less chance of
     14               addiction than immediate-release
     15               opioids.
     16    BY MR. CRUEGER:
     17               Q.        So did you know that Purdue had
     18    done this?
     19                         MR. SNAPP:       Object to the form.
     20                         THE WITNESS:        Yes, I was aware of
     21               that.
     22    BY MR. CRUEGER:
     23               Q.        And that statement that you just
     24    read, when they tell sales -- when sales

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      1    representatives would tell healthcare providers
      2    that OxyContin potentially creates less chance
      3    for addiction than immediate-release opioids,
      4    that is a false statement, correct?
      5                         MR. SNAPP:       Object to the form.
      6                         THE WITNESS:        So a statement that
      7               was in the original package insert about
      8               the long-acting nature compared to -- it
      9               doesn't say compared to
     10               immediate-release, but the long-acting
     11               had a less chance of addiction was in
     12               the original package insert, but is no
     13               longer in there, based on the lack of
     14               scientific evidence.
     15    BY MR. CRUEGER:
     16               Q.        Well, first of all, I believe the
     17    package insert, it was a little bit less
     18    definitive in that, correct, it was believed,
     19    correct?
     20               A.        That's correct.
     21               Q.        And it didn't actually say who
     22    believed it, correct?
     23               A.        It was part of the approved
     24    label.

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      1               Q.        But it didn't say who believed
      2    it, correct?
      3               A.        It did not ascribe it.
      4               Q.        And just because it's in the
      5    package insert, that doesn't necessarily make it
      6    true, correct?
      7                         MR. SNAPP:       Object to the form.
      8                         THE WITNESS:        It's approved based
      9               on the scientific evidence as approved
     10               by FDA.
     11    BY MR. CRUEGER:
     12               Q.        But just because it's approved,
     13    if it's incorrect, it's incorrect?
     14                         MR. SNAPP:       Object to the form.
     15                         THE WITNESS:        If something is
     16               incorrect, it is incorrect.
     17    BY MR. CRUEGER:
     18               Q.        And how you answer that actually
     19    raises a question.
     20                         So if the label says -- an FDA
     21    approved label says that extended-release
     22    opioids are believed to reduce the risk of
     23    addiction, but the company knows that's untrue,
     24    should the company still tell the public that

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      1    extended-release opioids may reduce the risk of
      2    addiction?
      3                         MR. SNAPP:       Object to the form.
      4                         THE WITNESS:        Purdue has, as
      5               recently as within the six months,
      6               worked with FDA to revise labeling based
      7               on new data that's available.               I'll just
      8               stop there.
      9    BY MR. CRUEGER:
     10               Q.        But that's not my question.
     11                         My question is because you seem
     12    to say that if the FDA label says -- has a
     13    statement, in this case, that it's believed that
     14    extended-release opioids may reduce the risk of
     15    addiction, that Purdue can market that, using
     16    that statement, even if it knows it's untrue and
     17    inaccurate?
     18                         MR. SNAPP:       Is there a question?
     19               Objection to form.
     20    BY MR. CRUEGER:
     21               Q.        Is that your belief?
     22                         MR. SNAPP:       Object to the form.
     23                         THE WITNESS:        No.
     24    BY MR. CRUEGER:

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      1               Q.        Okay.     So if the company knows
      2    the statement is untrue, even if it's in the
      3    label, would you agree with me that the company
      4    should not market that statement that it knows
      5    it's untrue using -- should not -- let me strike
      6    that.
      7                         If the company knows that the
      8    statement in the label is untrue, then you would
      9    agree with me that the company should not use
     10    that statement to market the opioids to the
     11    public, correct?
     12                         MR. SNAPP:       Object to the form.
     13                         THE WITNESS:        So this is --
     14               statements -- we talked about that
     15               earlier, statements in the label are
     16               based on available evidence.
     17                         The statements that end up there
     18               are a scientific evaluation by both the
     19               sponsors and FDA.          FDA has reasons for
     20               putting things in a label that the
     21               company may not have, but it's all based
     22               on the level of science at the time.
     23    BY MR. CRUEGER:
     24               Q.        But I'm asking you a slightly

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      1    different question, and I'm not even asking you
      2    a legal liability question.              That's a different
      3    question.
      4                         I'm just asking you that if the
      5    company knows that extended-release opioids do
      6    not reduce the risk of addiction, should it
      7    market that feature to the public just because
      8    it's in the label?
      9                         MR. SNAPP:       Object to the form.
     10                         THE WITNESS:        There would be a
     11               reason something is in the label, and
     12               it's more complicated than that
     13               hypothetical that you proposed.
     14    BY MR. CRUEGER:
     15               Q.        Guidelines I don't think it's --
     16    what makes it more complicated if it's -- if the
     17    company knows it's an untrue statement?
     18                         MR. SNAPP:       Wait for the question
     19               to come.
     20    BY MR. CRUEGER:
     21               Q.        What makes it complicated if the
     22    company knows the statement in the label is
     23    untrue or inaccurate, what makes it complicated
     24    as to whether or not the company should use that

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      1    statement to market the opioids to the public?
      2                         MR. SNAPP:       Object to the form.
      3                         THE WITNESS:        In that
      4               hypothetical if it was untrue the
      5               company should not promote it.
      6    BY MR. CRUEGER:
      7               Q.        And by the way, nothing --
      8    nothing stops the company from withdrawing its
      9    own drug from the market, correct?
     10                         MR. SNAPP:       Object to the form.
     11                         THE WITNESS:        That's correct.
     12    BY MR. CRUEGER:
     13               Q.        Okay.     And nothing stops the
     14    company from determining that its drug is
     15    unsafe, correct?
     16                         MR. SNAPP:       Object to the form.
     17                         THE WITNESS:        The company is
     18               required to continue to evaluate and we
     19               talked about it, periodic reports at
     20               least once a year if not more on the
     21               benefit-risk of a product.
     22    BY MR. CRUEGER:
     23               Q.        Now, we talked about the
     24    statement that's in the agreed statement of

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      1    facts in paragraph 20B and you made a reference
      2    that originally in the label there was a
      3    statement that it was believed that the
      4    extended-release opioid may reduce the risk of
      5    addiction, correct?
      6               A.        Yes.
      7               Q.        When did that come out of the
      8    label?
      9               A.        I don't remember the exact date.
     10               Q.        Was it off -- did that come out
     11    of the label by 2000, by the time you started at
     12    Purdue?
     13                         MR. SNAPP:       Object to the form.
     14                         THE WITNESS:        I don't remember.
     15               Again.
     16    BY MR. CRUEGER:
     17               Q.        It would have been out of the
     18    label by 2007, when this plea agreement took
     19    place, correct?
     20               A.        Correct.
     21               Q.        So in 2007 if a person told a
     22    healthcare provider so if a Purdue
     23    representative told a healthcare provider that
     24    OxyContin creates less chance for addiction than

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      1    immediate release opioids that would be either a
      2    false or misleading statement, correct?
      3                         MR. SNAPP:       Object to the form.
      4                         THE WITNESS:        Can you repeat the
      5               question.
      6    BY MR. CRUEGER:
      7               Q.        If in 2007 a representative told
      8    a healthcare provider that OxyContin potentially
      9    creates less chance for addiction than immediate
     10    release opioids, that would be a false or
     11    misleading statement, correct?
     12                         MR. SNAPP:       Object to the form.
     13                         THE WITNESS:        Determining how --
     14               the exact -- this is how reviews and
     15               everything, it really depends on any
     16               statement how it said what actual the
     17               statement is and the context it
     18               occurred.
     19    BY MR. CRUEGER:
     20               Q.        So let's just look at paragraph
     21    20B in that statement.
     22               A.        Which one?
     23               Q.        Paragraph 20B, page six I believe
     24    it is, the one that you read aloud.

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      1                         So that exact statement in
      2    paragraph 20B, that would be false and
      3    misleading, correct?
      4                         MR. SNAPP:       Object to the form.
      5                         THE WITNESS:        Again, it would
      6               depend on how it was stated.
      7    BY MR. CRUEGER:
      8               Q.        If it was stated just like that
      9    in 20B --
     10               A.        That second part of the sentence?
     11               Q.        Well, 20B is one sentence --
     12    yeah, that OxyContin potentially creates less
     13    chance for addiction than immediate release
     14    opioids?
     15               A.        That's correct.
     16                         MR. SNAPP:       Object to the form.
     17    BY MR. CRUEGER:
     18               Q.        That's correct, that it would be
     19    false and misleading?
     20                         MR. SNAPP:       Object to the form.
     21                         THE WITNESS:        Yes.
     22                         MR. CRUEGER:        So I'm going to
     23               hand you what's been labeled as Exhibit
     24               7.

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      1                         (Document marked for
      2               identification as Exhibit Fanelli-7.)
      3    BY MR. CRUEGER:
      4               Q.        If you could just take time to
      5    read through the e-mail, Dr. Fanelli.
      6               A.        (Witness reviews document.)
      7               Q.        Just tell me when you're done.
      8               A.        I've read it, looked through it.
      9               Q.        Would you agree that this is a
     10    true and accurate copy of the e-mail?
     11               A.        Yes.
     12               Q.        So if you look at the second page
     13    that ends in the Bates number three confusingly?
     14               A.        I see.
     15               Q.        So starting with the e-mail
     16    that's from you sent on -- sent in 2012 to Lisa
     17    Basham, she works at the FDA, correct?
     18               A.        Yes, I believe she still does.
     19    It's Lisa Basham, who is a regulatory project --
     20    was a regulatory project manager in the Division
     21    of Anesthesia, Analgesia and Addiction Products.
     22    She may no longer -- she may have moved, but I
     23    believe she's still at FDA.
     24               Q.        And the subject is about

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      1    OxyContin labeling?
      2               A.        Correct.
      3               Q.        And were you trying to get a
      4    change in the label?
      5               A.        This is discussing a change to
      6    the OxyContin label, but I don't -- I'm not sure
      7    where it initiated from.             As we talked before
      8    suggestions for changes may come from the
      9    sponsor, could come from FDA.               If you look at
     10    the first e-mail, the first e-mail came from
     11    Lisa Basham and says, we're all working on this,
     12    we suggest the following, so I don't actually
     13    recall who initiated the conversation.
     14               Q.        And you're sending her a -- I
     15    guess some proposed language for the label?
     16               A.        So -- yes.
     17               Q.        And because there's no color,
     18    it's a little difficult to tell, but it looks
     19    like the proposed -- of the language that you're
     20    proposing is in the shaded area?
     21               A.        Yeah, the first e-mail is FDA
     22    says they're suggesting this, then we -- I
     23    guess -- I have to --
     24               Q.        But just quickly so the --

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      1               A.        The highlighted, it looks like
      2    that's the grayish is what we proposed suggested
      3    back.
      4               Q.        So there's the -- just to read
      5    the sentence, it says, "published relative
      6    potency data are available" and then the -- you
      7    would agree with me that then the proposal that
      8    Purdue is asking for is "and may be referred to
      9    in Clinical Practice Guidelines such as those
     10    published by the Veterans Health Administration
     11    Department of Defense and American Pain
     12    Society," correct?
     13               A.        Yes.
     14               Q.        And then the FDA, her response is
     15    on the first page, and her response is -- well,
     16    actually, she has an e-mail it says "Sharon's
     17    response."       Who is Sharon?
     18               A.        That's Dr. Sharon Hertz, who's
     19    the -- I don't recall if she was -- but
     20    currently she is the division director at the
     21    Division of Anesthesia, Analgesia, and Addiction
     22    Products, Dr. Sharon Hertz.              I'm not aware, we
     23    looked at letters yesterday, Bob Rappaport
     24    was -- could have been the head at the time,

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      1    but, anyway, this is either a medical officer or
      2    she might have been a deputy director at the
      3    time.
      4               Q.        So the short answer, she works at
      5    the FDA?
      6               A.        Correct.
      7               Q.        So and this is her comment is,
      8    "As I mentioned when we spoke, we don't like to
      9    refer to specific guidelines in labeling because
     10    they can change and then the labeling reference
     11    may no longer be appropriate.               Therefore I
     12    removed the reference to the VA and APS,"
     13    correct?
     14               A.        That's what it says, yes.
     15               Q.        So they removed the reference to
     16    the Veterans Health Administration, Department
     17    of Defense guidelines and also the American Pain
     18    Society guidelines, correct?
     19               A.        Correct.
     20               Q.        And then you forwarded the e-mail
     21    to -- it must have been to Bridget Martell?
     22                         MR. SNAPP:       Object to the form.
     23                         THE WITNESS:        It doesn't -- well,
     24               somehow she got this.            It doesn't show

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      1               my forwarding.
      2    BY MR. CRUEGER:
      3               Q.        Correct, but somehow it gets to
      4    her, correct?
      5               A.        Correct.
      6               Q.        Who is that?        Who is Bridget
      7    Martell?
      8               A.        She's no longer at the company.
      9    Obviously, she was there at this time.                  She
     10    was -- I don't remember her title.                 She was in a
     11    medical affairs department.
     12               Q.        And she says "sad the strategy
     13    and rationale did not work," correct?                  So they
     14    wanted the -- well, the next sentence is "It
     15    seems we are left convincing legal that the
     16    general reference allows us to detail
     17    appropriate association guidelines," correct?
     18    That's what it says?
     19               A.        That's what it says, yes.
     20               Q.        So Purdue was looking to change
     21    the label so that it could detail doctors using
     22    those two guidelines, correct?
     23                         MR. SNAPP:       Object to the form.
     24                         THE WITNESS:        I don't recall this

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      1               specifically, but that appears to be
      2               what that says.         She's not in our sales
      3               organization, so I'm not -- I don't know
      4               how she's describing detail.
      5    BY MR. CRUEGER:
      6               Q.        But, clearly, someone at Purdue
      7    wanted to use the American Pain Society
      8    guidelines to sell OxyContin, correct?
      9                         MR. SNAPP:       Object to the form.
     10                         THE WITNESS:        I would not know if
     11               it's relate -- with that intention.
     12    BY MR. CRUEGER:
     13               Q.        But you were proposing the change
     14    to the FDA, correct?
     15               A.        Correct.
     16               Q.        By "you" I mean you, not Purdue,
     17    you, Dr. Fanelli, were sending the change to the
     18    FDA, correct?
     19               A.        I was involved in the e-mail
     20    correspondence back and forth with Lisa Basham,
     21    who was a project manager with Dr. Hertz.
     22               Q.        And who at Purdue, did you -- was
     23    it your idea to include the reference to the
     24    American Pain Society guidelines?

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      1                         MR. SNAPP:       Object to the form.
      2                         THE WITNESS:        Not mine
      3               individually.        I mean, it would have
      4               been -- come from the medical affairs
      5               department.
      6    BY MR. CRUEGER:
      7               Q.        Do you recall who?
      8               A.        No, I do not.
      9               Q.        Did you talk to Dr. Haddox about
     10    this change?
     11               A.        I could not remember whether I
     12    did or not.       It doesn't -- he's not on the list.
     13               Q.        Do you know -- did you read the
     14    guidelines, the American Pain Society
     15    guidelines?
     16               A.        Not in detail.
     17               Q.        But you did read them?
     18                         MR. SNAPP:       Object to the form.
     19                         THE WITNESS:        I don't recall
     20               reading those guidelines, no.
     21    BY MR. CRUEGER:
     22               Q.        Do you know who the American Pain
     23    Society is, Dr. Fanelli?
     24               A.        No, not in detail.          I mean, I've

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      1    heard of them in correspondence such as this,
      2    but the actual makeup would just be a -- from my
      3    hearing about it, not an investigation of it.
      4               Q.        Do you know whether Purdue
      5    provides any support to the American Pain
      6    Society?
      7               A.        I do not know.
      8               Q.        Just to clean this up quickly, so
      9    I just want to be clear on this, so Purdue
     10    wanted to change the label for a reason that's
     11    really due to marketing, correct?
     12                         MR. SNAPP:       Object to the form.
     13                         THE WITNESS:        I would not agree
     14               to that.
     15    BY MR. CRUEGER:
     16               Q.        How would you -- if they want to
     17    use the American Pain Society guidelines to
     18    detail doctors, that would be marketing,
     19    correct?
     20                         MR. SNAPP:       Object to the form.
     21                         THE WITNESS:        Can you repeat the
     22               question.
     23    BY MR. CRUEGER:
     24               Q.        If they wanted to use the

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      1    American Pain Society guidelines to detail
      2    doctors, that is marketing, correct?
      3                         MR. SNAPP:       Object to the form.
      4                         THE WITNESS:        It could be
      5               referred to as that, yes.
      6    BY MR. CRUEGER:
      7               Q.        And if you change the label in
      8    the way that Purdue was proposing to change the
      9    label, that would be marketing consistent with
     10    the FDA label, correct?
     11                         MR. SNAPP:       Object to the form.
     12                         THE WITNESS:        Yes.    So could you
     13               repeat it.       Sorry.     I want to make sure
     14               I got the right --
     15    BY MR. CRUEGER:
     16               Q.        If the FDA approved the label
     17    change that Purdue was proposing, then Purdue
     18    could market or detail doctors using the
     19    American Pain Society guidelines and claim that
     20    they were marketing consistent with the label
     21    for OxyContin, correct?
     22                         MR. SNAPP:       Object to the form.
     23                         THE WITNESS:        That is correct.
     24                         MR. SNAPP:       Before we move on to

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      1               another exhibit, can we take a
      2               five-minute break.          We've been going 66
      3               minutes.
      4                         MR. CRUEGER:        Let's just stop
      5               this and then we're at a stopping point.
      6                         THE WITNESS:        Finish this one?
      7                         MR. SNAPP:       Are you done with
      8               that one?
      9                         MR. CRUEGER:        We're done with
     10               that one.
     11                         MR. SNAPP:       So can we take a
     12               break?
     13                         MR. CRUEGER:        Sure, if you want
     14               to take a quick break.
     15                         THE VIDEOGRAPHER:          Stand by.
     16               Remove your microphones.             The time is
     17               2:09 p.m., off the record.
     18                         (Brief recess.)
     19                         THE VIDEOGRAPHER:          Okay.     We are
     20               back on the record.           The time is
     21               2:23 p.m.
     22                         MR. CRUEGER:        I'm going to hand
     23               you what I've labeled Exhibit 8, Dr.
     24               Fanelli.

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      1                         (Document marked for
      2               identification as Exhibit Fanelli-8.)
      3    BY MR. CRUEGER:
      4               Q.        Have you seen this document
      5    before?
      6               A.        I don't recall reviewing this
      7    document in this state.
      8               Q.        What was the last part that you
      9    said?
     10               A.        As such, exactly like this.
     11               Q.        But you've heard of this document
     12    before?
     13               A.        Yes.
     14               Q.        Okay.     Again, you have to
     15    remember that I have to be able to finish before
     16    you can start talking.
     17               A.        I apologize.
     18               Q.        It's not a natural way of doing
     19    conversation, so don't worry about it.
     20                         If you go to page 4 of the
     21    report.
     22               A.        The page numbers on top?
     23               Q.        The page numbers on the top,
     24    correct.      There's a "Figure 1:           Manufacturer

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      1    Payments to Selected Groups, 2012-2017," and
      2    there's an entry for Purdue.
      3                         Do you see where I am in the
      4    first column -- the second column?
      5               A.        Yes.
      6               Q.        And if you go down, there's the
      7    American Pain Society?
      8               A.        Yes.
      9               Q.        And you see there's a little over
     10    $542,000 paid to the American Pain Society?
     11               A.        I see that.
     12               Q.        Were you aware of Purdue's
     13    contributions to the American Pain Society?
     14               A.        No.
     15               Q.        Were you aware of any of these
     16    other companies' contributions to the American
     17    Pain Society?
     18               A.        No.
     19               Q.        When you submitted the proposed
     20    label change that referenced the American Pain
     21    Society, did -- are you aware of anyone at
     22    Purdue telling the FDA about the payments to
     23    that society?
     24                         MR. SNAPP:       Object to the form.

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      1                         THE WITNESS:        No, I'm not aware.
      2                         MR. CRUEGER:        So handing you
      3               what's labeled Exhibit 9.
      4                         (Document marked for
      5               identification as Exhibit Fanelli-9.)
      6    BY MR. CRUEGER:
      7               Q.        These are the American Pain
      8    Society guidelines, correct?
      9               A.        I believe it's discussing that.
     10    I haven't seen it in this form that I recall.
     11               Q.        Well, you said you had read
     12    through the guidelines, correct?
     13               A.        I had -- I didn't -- I don't
     14    think I said I read through them.                I had seen
     15    discussion of them, not from start to -- you
     16    know what I mean, I think I said that.
     17               Q.        I actually don't know what that
     18    means.     Can you explain what that means?
     19               A.        So either -- I have seen them,
     20    yes.    I have seen them, I'll say that.
     21               Q.        So is the distinction we're
     22    drawing here you've seen them, but you have not
     23    read them?
     24               A.        Correct.      I had not done a

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      1    detailed reading through of the documents.
      2               Q.        But these are the guidelines that
      3    Purdue wanted to be referred to in the label so
      4    it could use them to detail doctors, correct?
      5                         MR. SNAPP:       Object to the form.
      6                         THE WITNESS:        I'd have to look
      7               back to -- I don't -- I'm not aware of
      8               the timing of this or if it's the full
      9               and complete listing of it in this form.
     10    BY MR. CRUEGER:
     11               Q.        And if you turn to page -- well,
     12    the page numbers up in the right-hand corner,
     13    it's page 117, 117.
     14               A.        Yes.
     15               Q.        In the second column, if you go
     16    all the way down to the bottom, it's the last
     17    sentence before the next section take starts as
     18    methadone.
     19                         Do you see where I am?
     20               A.        On top of the --
     21               Q.        On top of it.
     22               A.        Yeah.
     23               Q.        Starts with "proposed"?
     24               A.        I see that.

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      1               Q.        So it says, proposed benefits of
      2    transitioning to long-acting opioids with
      3    around-the-clock dosing include more consistent
      4    control of pain, improved adherence and lower
      5    risk of addiction or abuse through
      6    well-conducted studies -- though well-conducted
      7    studies have not examined these benefits.
      8                         That's what it says, correct?
      9               A.        Yes.
     10               Q.        And these are the guidelines that
     11    Purdue wanted to use to detail customers?
     12                         MR. SNAPP:       Object to the form.
     13                         THE WITNESS:        Again, I'm not sure
     14               if this presentation is the exact
     15               version that FDA -- we were referring to
     16               at that time.
     17    BY MR. CRUEGER:
     18               Q.        And this statement in this
     19    American Pain Society guideline, now we would
     20    agree that that is incorrect, that the use of
     21    long-acting opioids has a lower risk of
     22    addiction or abuse?
     23                         MR. SNAPP:       Object to the form.
     24                         THE WITNESS:        It says

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      1               well-conducted studies have not been
      2               conducted or well-conducted studies have
      3               not examined these.
      4    BY MR. CRUEGER:
      5               Q.        Do you know of any evidence to
      6    support that statement?
      7               A.        Could you repeat -- the one on
      8    front.
      9               Q.        This last sentence, the proposed
     10    benefits of transitioning to long-acting opioids
     11    with around-the-clock dosing include more
     12    consistent control of pain, improved adherence
     13    and lower risk of addiction or abuse.
     14                         MR. SNAPP:       Do you want to finish
     15               the sentence.
     16    BY MR. CRUEGER:
     17               Q.        Though well-conducted studies
     18    have not examined the benefits.
     19                         Do you know of any -- any
     20    scientific evidence that supports the part of
     21    that statement that says it lowers the risk of
     22    addiction or abuse?
     23                         MR. SNAPP:       Object to the form.
     24                         THE WITNESS:        Those studies are

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      1               being conducted as we speak.
      2    BY MR. CRUEGER:
      3               Q.        Did you know of any studies in
      4    2012?
      5               A.        I'm not aware of studies at that
      6    time.
      7               Q.        In 2012 was the time when you
      8    were proposing to change the label with the FDA,
      9    correct?
     10                         MR. SNAPP:       Object to the form.
     11                         THE WITNESS:        That we talked
     12               about --
     13    BY MR. CRUEGER:
     14               Q.        In Exhibit 7, correct?
     15               A.        Yes.
     16               Q.        Dr. Fanelli, do you have any idea
     17    what the risk to the patient is if a doctor
     18    believes that the risk of addiction is lower if
     19    you're using extended-release opioids?
     20                         MR. SNAPP:       Object to the form.
     21                         THE WITNESS:        I think we talked
     22               about that the risk is still under
     23               discussion and scientific evaluation.
     24    BY MR. CRUEGER:

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      1               Q.        So you just -- it could be very
      2    dangerous, it could be dangerous, it could be --
      3               A.        Could you repeat the question.
      4    What could be dangerous?
      5               Q.        If a doctor believes that using
      6    extended-release opioids to treat chronic pain,
      7    there's a -- let me strike that.
      8                         If a doctor believes that there's
      9    less risk of addiction and abuse if he
     10    prescribes extended-release opioids to a patient
     11    to treat chronic pain?
     12                         MR. SNAPP:       Object to the form.
     13                         THE WITNESS:        I have -- I don't
     14               have any way to evaluate that.
     15    BY MR. CRUEGER:
     16               Q.        So if you have no way to evaluate
     17    that, why was Purdue asking the FDA to change
     18    the label to include those guidelines?
     19                         MR. SNAPP:       Object to the form.
     20                         THE WITNESS:        We were responding
     21               to an FDA -- again, we don't -- I don't
     22               have the whole history or remember that
     23               every detail, but we were responding to
     24               an FDA request, and I actually don't

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      1               know the full rationale for including
      2               those at that time.
      3    BY MR. CRUEGER:
      4               Q.        Certainly, you're not suggesting
      5    that the FDA was proposing that you include the
      6    reference to the American Pain Society
      7    guidelines in the label?
      8               A.        No.
      9               Q.        It's Purdue that was proposing
     10    it, correct?
     11               A.        Correct.
     12               Q.        And I believe you testified you
     13    don't know who at Purdue proposed it?
     14                         MR. SNAPP:       Object to the form.
     15                         THE WITNESS:        I don't know, yes,
     16               where it came from.
     17    BY MR. CRUEGER:
     18               Q.        If I wanted to answer that
     19    question or if you wanted to answer that
     20    question, how would you go about figuring it
     21    out?
     22                         MR. SNAPP:       Object to the form.
     23                         THE WITNESS:        I would -- this
     24               part of that, those guidelines are -- I

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      1               would talk to folks in the medical
      2               affairs department.
      3    BY MR. CRUEGER:
      4               Q.        Such as whom, who in particular?
      5               A.        Probably the head of that group,
      6    although Marcelo Bigal started recently, so I'd
      7    probably talk to Monica Kwarcinski.
      8               Q.        And does Purdue keep a record of
      9    when it's proposing changes to labels of how
     10    Purdue decided to propose lang -- let me strike
     11    that.
     12                         Does Purdue keep a record of how
     13    it came about to decide to propose certain
     14    language in a label?
     15               A.        We keep record of the --
     16    depending on -- of course, it depends on exactly
     17    what it is.       An example would be references if
     18    when we submit a label for review, there are
     19    annotations that reference where the evidence is
     20    from and so forth, but it really depends on the
     21    particular change.
     22    BY MR. CRUEGER:
     23               Q.        I was thinking more along the
     24    lines is there a record of any -- a centralized

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      1    record of any discussion or the decision-making
      2    process within Purdue of we want to include this
      3    language in the label?
      4               A.        There is a record of all
      5    correspondence with FDA, but within it would
      6    depend on what that discussion is.
      7                         (Document marked for
      8               identification as Exhibit Fanelli-11.)
      9    BY MR. CRUEGER:
     10               Q.        I'll hand you what's been marked
     11    Exhibit 11.
     12                         If you can take time to just read
     13    the e-mail and then tell me when you're done.
     14               A.        (Witness reviews document.)
     15                         I've read it.
     16               Q.        This is an e-mail, 2015, and it's
     17    referring to the LA Times.             It's called LA Times
     18    Fact Pattern, but it's referring to articles
     19    that were in the LA Times.
     20                         Do you recall those articles?
     21               A.        I recall that there were
     22    articles, yes.
     23               Q.        Did you read any of them?
     24               A.        Yes.

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      1               Q.        And can you just summarize for me
      2    so we don't have to go through the entire thing,
      3    what they're asking -- well, let's just make
      4    this clear, Robert Josephson, is that a --
      5    that's a Purdue employee, correct?
      6               A.        Yeah, Bob Josephson is in our
      7    corporate communications group.
      8               Q.        And the other people, the other
      9    two people on here, these are also Purdue
     10    employees, correct?
     11               A.        Correct.
     12               Q.        And then it's CCing you.             Did you
     13    do any work in formulating Purdue's response to
     14    the articles?
     15               A.        No.
     16               Q.        So you were just CC'd on the
     17    e-mail?
     18               A.        Correct.
     19               Q.        So you can just put that to one
     20    side.
     21                         So I just want to talk to you a
     22    little bit about the abuse deterrent
     23    formulation.
     24               A.        Sure.

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      1               Q.        First, I just want to -- we
      2    talked about it very briefly before, but you
      3    said you were not the -- I can't remember the
      4    exact term, is it the chief liaison with the
      5    FDA --
      6               A.        Right.
      7               Q.        -- for the initial approval of
      8    reformulated OxyContin?
      9               A.        Correct.
     10               Q.        And that -- so what role did you
     11    play, if any, in between Purdue submitting the
     12    NDA for reformulated OxyContin and then it
     13    received approval in 2010, correct?
     14               A.        So I would have provided
     15    supervisory oversight to the prime regulatory
     16    folks at that time.
     17               Q.        Okay.     And so what does -- I just
     18    want to get an idea of what that actually means.
     19                         Does that mean you review and
     20    approve everything before it's filed?
     21               A.        Not everything, but I would look
     22    at important items, give advice.
     23               Q.        Okay.     So I want to just quickly
     24    talk about what abuse -- this means for

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      1    OxyContin, what abuse deterrent formulation
      2    means.
      3                         It's really about -- is it about
      4    tamper resistance, correct?
      5               A.        Yes.
      6               Q.        So it's making the pill harder to
      7    crush, correct?
      8               A.        That's one part, yes.
      9               Q.        And another part is then it makes
     10    it if you crush it, it's harder to either inhale
     11    or melt and put it up in a syringe, correct?
     12               A.        Correct.
     13               Q.        Is there anything else that it
     14    does?
     15               A.        You said inhale, yes, that's
     16    the -- that was the goals of the reformulation.
     17               Q.        So it's addressed to deter people
     18    from either inhaling it or injecting it,
     19    correct?
     20               A.        Yes.
     21               Q.        And it doesn't deter you from --
     22    you can abuse reformulated OxyContin just by
     23    swallowing it, correct?
     24               A.        That's correct.

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      1               Q.        Now, isn't it true, Dr. Fanelli,
      2    that most people don't abuse OxyContin by either
      3    inhaling it or injecting it?
      4               A.        The -- I'm not aware of the
      5    specific -- that's again part of that risk in
      6    the epidemiology group.            I know we have data on
      7    that, but the early discussions with FDA were
      8    looking at ways to address, and this was one of
      9    the -- a first step in reformulation.
     10               Q.        But most people abuse OxyContin
     11    by taking it orally, correct, the majority of
     12    people do?
     13                         MR. SNAPP:       Object to the form.
     14                         THE WITNESS:        I don't know the
     15               exact numbers.
     16    BY MR. CRUEGER:
     17               Q.        Have you ever looked at that
     18    issue?
     19               A.        Yes.
     20                         MR. CRUEGER:        I'm going to hand
     21               you what's been labeled Exhibit 12.
     22                         (Document marked for
     23               identification as Exhibit Fanelli-12.)
     24    BY MR. CRUEGER:

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      1               Q.        And, Dr. Fanelli, this is a
      2    surveillance report prepared by Navippro,
      3    correct, or it's called a Navippro report?
      4               A.        Navippro, yes.
      5               Q.        And this one happens to be dated
      6    June of 2013, correct?
      7               A.        That's correct.
      8               Q.        Just briefly explain for me why
      9    Purdue was preparing or had these reports
     10    prepared?
     11                         MR. SNAPP:       Object to the form.
     12                         THE WITNESS:        So I'm not sure
     13               what this particular report was prepared
     14               for.
     15    BY MR. CRUEGER:
     16               Q.        So let me ask it this way:             Do
     17    you know why Purdue had this report prepared?
     18               A.        Not specifically for this
     19    particular report.          We have -- Navippro is one
     20    of the studies in our postmarketing required
     21    studies, and we have -- we talked about it
     22    either today or yesterday, requirements to
     23    provide interim reports, so this could be -- but
     24    I'm not -- in this form without seeing cover

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      1    letters, I'm not that familiar with this
      2    particular report.
      3               Q.        Well, let's go to --
      4    unfortunately they don't -- well, page 32 of 71
      5    and Table 8, you see where we are?
      6               A.        Yes.
      7               Q.        And this report is giving
      8    percentages of people who abuse OxyContin,
      9    reformulated OxyContin and actually original
     10    OxyContin by different routes, oral, snorting,
     11    smoking, injecting and then other.
     12                         And this table would suggest that
     13    most people, the majority, who abuse OxyContin
     14    abuse it by just taking it orally, correct?
     15                         MR. SNAPP:       Object to the form.
     16                         THE WITNESS:        In the first column
     17               that's what it appears, yes.
     18    BY MR. CRUEGER:
     19               Q.        Okay.     Are you familiar at all
     20    with any of the patent litigation surrounding
     21    the ADF reformulation?
     22               A.        I know they exist, but I'm not
     23    familiar with them.
     24               Q.        Did you play any role in it

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      1    whatsoever?
      2               A.        You know --
      3                         MR. SNAPP:       Object to the form.
      4                         THE WITNESS:        I gave a
      5               deposition, but I can't recall if it was
      6               specific to OxyContin or around some
      7               other patent issue.
      8    BY MR. CRUEGER:
      9               Q.        Were you involved at all in the
     10    -- I'm trying to think of how to ask this
     11    question so just --
     12               A.        Okay.
     13               Q.        Were you involved in how Purdue
     14    licensed the patents that it used for the abuse
     15    deterrent formulation in reformulated OxyContin?
     16               A.        No.
     17                         MR. CRUEGER:        Okay.     So let's
     18               just take a quick break.
     19                         THE VIDEOGRAPHER:          The time is
     20               2:50 p.m., going off the record.
     21                         (Brief recess.)
     22                         THE VIDEOGRAPHER:          The time is
     23               3:01 p.m., back on the record.
     24    BY MR. CRUEGER:

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      1               Q.        So let's just talk a little bit
      2    about the -- what happened after the FDA
      3    approved reformulated OxyContin or actually also
      4    when it approved it.
      5                         So the approval was -- if you
      6    remember, it was April 16th, 2013, correct?
      7               A.        I don't have it -- I believe
      8    that's correct.
      9                         MR. SNAPP:       Did you say 2013?
     10                         THE WITNESS:        Was it '12?
     11                         MR. CRUEGER:        Well, approval --
     12               I'm sorry.
     13    BY MR. CRUEGER:
     14               Q.        It was approved in 2010, correct?
     15               A.        Yeah, yeah, sorry.
     16               Q.        And then the FDA did not approve
     17    a label change in 2010, correct?
     18               A.        There was no label change at that
     19    time.
     20               Q.        And the FDA asked -- either asked
     21    or required, I'm not sure which word you want to
     22    use, that Purdue conduct further studies about
     23    the abuse deterrent formulation and its
     24    effectiveness, correct?

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      1               A.        Yes.
      2               Q.        And Purdue did a series of
      3    studies, correct?
      4               A.        And continued to do those
      5    studies, yes.
      6               Q.        Right, but it did a series of
      7    studies and it submitted it to the FDA, correct?
      8               A.        Yes.
      9               Q.        And then on April 16th, 2013 is
     10    when the FDA approved the label change, correct?
     11               A.        Correct.
     12               Q.        And at the same time that it
     13    approved the label change, it also withdrew the
     14    approval for original OxyContin, correct?
     15               A.        I don't -- subsequently, they
     16    did, but I don't know if it was -- I don't
     17    believe it was at the same time.
     18               Q.        For our purposes, whether it was
     19    the same day or not, it doesn't matter, but
     20    after it approved the label change, it also
     21    withdrew the approval for original OxyContin,
     22    correct?
     23               A.        That's correct.
     24               Q.        And then it also stopped

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      1    accepting abbreviated new drug applications,
      2    correct?
      3                         MR. SNAPP:       Object to the form.
      4    BY MR. CRUEGER:
      5               Q.        For original OxyContin?
      6               A.        That's correct.
      7               Q.        And that means that a generic
      8    manufacturer could not file an abbreviated new
      9    drug application to sell original OxyContin,
     10    correct?
     11               A.        Yes.
     12               Q.        Okay.     Did the FDA approve any --
     13    or grant any exclusivity period for reformulated
     14    OxyContin?
     15               A.        I'm not familiar with the
     16    exclusivity based on that.
     17               Q.        Does reformulated Oxycontin have
     18    any exclusivity, FDA exclusivity, period?
     19               A.        It's past the nonpatent
     20    exclusivity for a -- that's a three-year, if
     21    clinical trials are required, it would be patent
     22    exclusivity.
     23               Q.        And then the FDA also required
     24    more -- that Purdue do additional studies on the

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      1    effect of abuse deterrence -- of the abuse
      2    deterrent formulation?
      3               A.        Correct.
      4               Q.        And it was trying -- to summarize
      5    it all up, it was trying to -- what Purdue was
      6    trying to demonstrate was that the abuse
      7    deterrent formulation actually reduced abuse in
      8    the communities, correct?
      9               A.        Correct.
     10               Q.        And Purdue then commissioned a
     11    series of studies to be carried out to study
     12    that, correct?
     13               A.        Yes.
     14               Q.        Okay.     By the way, I'm going to
     15    ask you, so starting in 2010 Purdue Pharma or
     16    Purdue was only selling reformulated OxyContin,
     17    correct?
     18               A.        There was a transition from the
     19    original to the reformulated.
     20               Q.        So as of, like, 2011 then, let's
     21    say, as of 2011, Purdue is only selling
     22    reformulated Oxycontin?
     23               A.        Yes, we are distributing the
     24    reformulated version.

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      1               Q.        Isn't distributing the same as
      2    selling?
      3               A.        Yes.
      4                         MR. CRUEGER:        Okay.     So I'm going
      5               to give you what has been marked Exhibit
      6               13.
      7                         (Document marked for
      8               identification as Exhibit Fanelli-13.)
      9    BY MR. CRUEGER:
     10               Q.        And, again, just tell me when
     11    you're done reading it.
     12               A.        (Witness reviews document.)
     13                         I finished.
     14               Q.        Okay.     So this is an e-mail to
     15    you from Todd Baumgartner?
     16               A.        Correct.
     17               Q.        Who is that?
     18               A.        Baumgartner, he was -- I have to
     19    look at the year.          2012, he was -- I believe he
     20    was the head of regulatory affairs at the time.
     21    At one time he was head of regulatory affairs,
     22    then he was the head of all of R&D, so I
     23    reported to him in both capacities.
     24               Q.        He worked for Purdue --

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      1               A.        A couple times.
      2               Q.        He worked for Purdue Pharma?
      3               A.        Yes, sorry.
      4               Q.        Okay.     And the subject line TR IR
      5    opioids, can you explain what that means?
      6               A.        Tamper-resistant
      7    immediate-release opioids.
      8               Q.        And if you look at what he --
      9    after having my initial thoughts and then he has
     10    like thought 5 and thought 7, I'm not sure what
     11    happened to 1 through 4 or 6, but number 7 is
     12    what I'm a little bit interested in, so it says
     13    "recall we had actively discouraged Rhodes from
     14    launching a generic IR Oxycodone."                 I'm not
     15    going to continue reading.
     16                         Rhodes is Rhodes Pharmaceuticals?
     17               A.        Correct.
     18               Q.        And what is it referring to in
     19    that you had -- when he says "we had actively
     20    discouraged Rhodes from launching their generic
     21    IR Oxycodone"?
     22                         MR. SNAPP:       Object to the form.
     23                         THE WITNESS:        I don't -- I don't
     24               recall right now what that discussion

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      1               was.
      2    BY MR. CRUEGER:
      3               Q.        So Rhodes Pharmaceuticals they --
      4    IR -- strike that.
      5                         IR Oxycodone, that refers to
      6    immediate release?
      7               A.        Correct.
      8               Q.        And Rhodes Pharmaceuticals is
      9    selling immediate-release Oxycodone?
     10                         MR. SNAPP:       Object to the form.
     11                         THE WITNESS:        I believe they are,
     12               yes.
     13    BY MR. CRUEGER:
     14               Q.        And they sell it as a generic,
     15    correct?
     16                         MR. SNAPP:       Object to the form.
     17                         THE WITNESS:        Yes.
     18    BY MR. CRUEGER:
     19               Q.        And was there a concern about
     20    Purdue selling a reformulated abuse deterrent
     21    OxyContin and at the same time having a
     22    Purdue-affiliated company selling an
     23    immediate-release generic Oxycodone product?
     24                         MR. SNAPP:       Object to the form.

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      1                         THE WITNESS:        There were
      2               discussions about that.
      3    BY MR. CRUEGER:
      4               Q.        And what were the discussions?
      5               A.        We had a tamper-resistant project
      6    in development.         Unfortunately, we were
      7    unsuccessful in developing that project, but we
      8    felt that that was an important product, if we
      9    could meet the FDA's requirements, to get it on
     10    the market, and that would be preferred.
     11               Q.        Well, first of all, who is "we,"
     12    Purdue Pharma?
     13               A.        Yeah.
     14               Q.        And when you say a
     15    tamper-resistant product, are you talking about
     16    a tamper-resistant, immediate-release?
     17               A.        Yes, I'm sorry.
     18               Q.        Yeah, a tamper-resistant,
     19    immediate-release product, correct?
     20               A.        Correct.
     21               Q.        And you, Purdue, were trying to
     22    develop that immediate-release, tamper-resistant
     23    product for Rhodes Pharmaceuticals to sell?
     24                         MR. SNAPP:       Object to the form.

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      1                         THE WITNESS:        No.    I don't have
      2               the agenda for that meeting, it's not
      3               attached, but we were studying it and
      4               actually have submit -- did submit the
      5               application, the name was Ovreedy(ph.)
      6               for an abuse deterrent IR formulation.
      7    BY MR. CRUEGER:
      8               Q.        Of?
      9               A.        Of oxycodone, sorry.
     10               Q.        Just to back up quickly, you said
     11    you don't have the agenda that's attached.                    Is
     12    it just one page?
     13               A.        Yeah.     Well, there's two --
     14    there's nothing on this page.
     15                         (Document marked for
     16               identification as Exhibit Fanelli-14.)
     17    BY MR. CRUEGER:
     18               Q.        I only have one copy, obviously.
     19    Is this the agenda for that e-mail, what's been
     20    labeled Exhibit 14?
     21               A.        (Witness reviews document.)              I've
     22    reviewed it, so I see it.
     23               Q.        I was just asking is that the
     24    agenda that's supposed to be attached to Exhibit

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      1    13?
      2               A.        It appears to be.
      3               Q.        Okay.     So back to Exhibit 13, in
      4    that paragraph 7 it says -- he writes, "But,
      5    now, if we clearly are trying to bring forward a
      6    TR IR formulation (and thus trying to address
      7    the problem), I see no reason why we need to be
      8    secretive."
      9                         What is he referring to there
     10    about being secretive?
     11                         MR. SNAPP:       Object to the form.
     12                         THE WITNESS:        I don't recall.
     13    BY MR. CRUEGER:
     14               Q.        And is Rhodes Pharmaceuticals, is
     15    it currently selling an immediate-release
     16    Oxycodone product?
     17                         MR. SNAPP:       Object to the form.
     18                         THE WITNESS:        I believe they are.
     19    BY MR. CRUEGER:
     20               Q.        Do they have -- does Rhodes
     21    Pharmaceuticals sell a tamper-resistant
     22    Oxycodone product?
     23               A.        No.
     24               Q.        And, again, Rhodes

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      1    Pharmaceuticals, it's really owned by the same
      2    family, the Sackler family, as Purdue, correct?
      3                         MR. SNAPP:       Object to the form.
      4                         THE WITNESS:        I'm not aware of
      5               the ownership of the different
      6               corporations.
      7    BY MR. CRUEGER:
      8               Q.        You think someone else other than
      9    the Purdue family controls either directly or
     10    indirectly Rhodes Pharmaceuticals?
     11                         MR. SNAPP:       Object to the form.
     12                         THE WITNESS:        Again, I don't know
     13               the ownership.
     14    BY MR. CRUEGER:
     15               Q.        How long has Rhodes
     16    Pharmaceutical existed?
     17                         MR. SNAPP:       Object to the form.
     18                         THE WITNESS:        I do not know.
     19    BY MR. CRUEGER:
     20               Q.        But you occasionally have e-mails
     21    like this about Rhodes Pharmaceuticals, correct?
     22               A.        Yes.
     23               Q.        Did you just assume it was an
     24    independent third company that had no

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      1    affiliation or association with Purdue?
      2                         MR. SNAPP:       Object to the form.
      3                         THE WITNESS:        No.    We consider it
      4               an independent associated company is how
      5               we term it.
      6    BY MR. CRUEGER:
      7               Q.        And what does that mean in
      8    reality?      What is an independent associated
      9    company?
     10               A.        So, again, this would be more
     11    details from our law department, but it's not
     12    the same -- my understanding is it's not the
     13    same company, different legal and corporate
     14    entity, but I'm not -- I don't have that
     15    background to address that.
     16               Q.        Does Purdue sell any
     17    immediate-release Oxycodone products?
     18               A.        No.
     19               Q.        Does Purdue sell any -- well,
     20    answer if you --
     21               A.        No, we don't currently, that's
     22    correct.
     23               Q.        Did Purdue at one time while
     24    you've been at Purdue since 2000 sell an

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      1    immediate-release Oxycodone product?
      2               A.        Oh, Dilaudid is hydromorphone, so
      3    no.
      4               Q.        Okay.     Does Purdue sell any of
      5    the drugs that are used to treat opioid
      6    addiction?
      7               A.        No.
      8               Q.        Purdue doesn't sell any drugs
      9    that are used to treat opioid addiction?
     10               A.        Currently, no, that I'm aware of.
     11               Q.        How about Rhodes Pharmaceuticals?
     12                         MR. SNAPP:       Object to the form.
     13    BY MR. CRUEGER:
     14               Q.        Does Rhodes Pharmaceuticals sell
     15    any drugs that are used to treat opioid
     16    addiction?
     17                         MR. SNAPP:       Object to the form.
     18                         THE WITNESS:        I don't know
     19               Rhodes -- all of Rhodes' products.
     20    BY MR. CRUEGER:
     21               Q.        Okay.     So before we got on this
     22    little tangent, we were talking about the ADF
     23    and reformulated OxyContin.              We had just talked
     24    about the April 16th, 2013 FDA approval of the

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      1    new label for the abuse deterrent formulation
      2    and that the FDA had asked or required Purdue to
      3    do additional studies about the abuse deterrent
      4    formulation, correct?           You kind of remember
      5    that's where we were?
      6               A.        Yes.
      7               Q.        Okay.     And Purdue did those
      8    studies, correct?
      9               A.        We're currently conducting those
     10    studies.
     11               Q.        And it would submit --
     12                         (Document marked for
     13               identification as Exhibit Fanelli-15.)
     14    BY MR. CRUEGER:
     15               Q.        I'll just pass you what's been
     16    labeled Exhibit 15.
     17                         So Exhibit 15 is a document
     18    entitled "Overview and Interpretation of the
     19    Post-Marketing Program to Assess the Effects of
     20    Reformulated OxyContin on Opioid Abuse in 3
     21    Formal Studies, 1 Drug Utilization Study, and
     22    Contextual Studies," and it's dated September
     23    2014.
     24                         Are you familiar with this study

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      1     or this -- this document, actually?
      2                A.        I'd have to get -- I'm vaguely
      3     familiar with it.         It appears to be -- we talked
      4     about earlier postmarketing requirements have
      5     update requirements, and this could be one of
      6     those, but I'm not sure.            I'd have to look at
      7     it.
      8                Q.        Do you understand why Purdue
      9     filed this document with the FDA?                Let's just
     10     start, did Purdue file this document with the
     11     FDA?
     12                A.        This particular one?           I'd have
     13     to -- if there was a cover letter that
     14     accompanied this, I'd know whether this was the
     15     version that went to FDA.             If you notice, it
     16     says a study reported in July 2012 report.                    This
     17     appears to be the next update, but I'm not --
     18     without seeing additional documentation, I'm not
     19     certain, but that's what it appears to be.
     20                Q.        Did you have any involvement
     21     while you were at Purdue in submitting these
     22     studies or these reports to the FDA?
     23                A.        Yes.
     24                Q.        Okay.     And assuming that this was

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      1     submitted to the FDA, can you explain just at a
      2     very general high overview Purdue's purpose for
      3     submitting this 2014 report?
      4                A.        Yeah, as I stated previously, the
      5     postmarketing required studies, FDA gives time
      6     months for submitting of the proposals, interim
      7     reports and final study reports.                This would --
      8     could satisfy submitting one of those interim
      9     reports.
     10                Q.        So but what -- what Purdue is
     11     trying to do with this submission is report to
     12     the FDA its view of what these studies are
     13     showing on whether the abuse deterrent
     14     formulation is effective at reducing abuse,
     15     correct?
     16                          MR. SNAPP:       Object to the form.
     17                          THE WITNESS:        It's submitting an
     18                interim report on the status of our
     19                investigations.         It talks here about
     20                three formal studies, a drug utilization
     21                study and contextual study, so it's a
     22                number of studies, and this is an update
     23                report on the current status of those,
     24                as required.

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      1     BY MR. CRUEGER:
      2                Q.        And so if you look at page 5
      3     quickly --
      4                A.        Five by the report number.
      5                Q.        Five by the actual page numbers,
      6     yes.
      7                A.        Yeah.
      8                Q.        And there's a paragraph or
      9     Section 1.4 Conclusions.
     10                A.        Yes.
     11                Q.        And just the first sentence,
     12     "These findings indicate that abuse of OxyContin
     13     decreased substantially after reformulation and
     14     that these decreases have persisted up to three
     15     years post-reformulation," correct?                 That's
     16     what -- that's what that sentence says?
     17                A.        Yes.
     18                Q.        And that is what Purdue is
     19     telling the FDA, correct?
     20                          MR. SNAPP:       Object to the form.
     21                          THE WITNESS:        That a conclusion
     22                in an interim report about what the
     23                findings indicate.
     24                          (Document marked for

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      1                identification as Exhibit Fanelli-16.)
      2     BY MR. CRUEGER:
      3                Q.        So, Dr. Fanelli, what I've handed
      4     you is Exhibit 16.          Don't worry, we are not
      5     going to parse through and read this thing.
      6     I'm just ask -- actually, the only reason I'm
      7     even giving it to you is just to ask you if,
      8     first of all, if you can tell me, have you seen
      9     this document before?
     10                A.        Yes.
     11                Q.        And can you tell me what the
     12     document is?
     13                A.        This is a FDA briefing document
     14     prepared prior to a scheduled advisory committee
     15     meeting.
     16                Q.        And what is the briefing document
     17     about?
     18                A.        The advisory committee -- it was
     19     a joint advisory committee.              I think we talked
     20     about this yesterday, DSaRM is the safety group,
     21     and AADPAC is the anesthesia group, Sharon Hertz
     22     is the head of that FDA division, but this is --
     23     those are the advisory committees, and it was to
     24     discuss whether the reformulated OxyContin --

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      1     what the -- what the outcomes of those were, of
      2     the reformulation.
      3                Q.        And you received this document,
      4     correct?
      5                A.        Yes.
      6                          (Document marked for
      7                identification as Exhibit Fanelli-17.)
      8     BY MR. CRUEGER:
      9                Q.        So I'm going to hand you what is
     10     17.
     11                          MR. SNAPP:       Are we done with 16?
     12                          MR. CRUEGER:        Yes.
     13                          MR. SNAPP:       Thank you.
     14     BY MR. CRUEGER:
     15                Q.        And so that briefing document
     16     that was Exhibit 16, obviously, you and other
     17     people at Purdue had read through that document,
     18     correct?
     19                A.        Yes.
     20                Q.        And you read through it because
     21     you were going to have a meeting with the FDA on
     22     July 7th and 8th of 2015, correct?
     23                A.        Yes.
     24                Q.        And just from reading this

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      1     e-mail, is it safe to say that the FDA was not
      2     persuaded by the evidence that Purdue had
      3     produced so far that the reformulated OxyContin
      4     had reduced abuse in the community?
      5                          MR. SNAPP:       Object to the form.
      6                          THE WITNESS:        What I would say is
      7                briefing documents, and it says so, and
      8                FDA said so, are the views of the
      9                individual reviewers from the different
     10                sections and that they're mentioned
     11                here, the epidemiologic, the
     12                statistician, and they're up for --
     13                they're not a -- they're not a
     14                conclusion of FDA, per se, but it's
     15                providing reviews for the advisory
     16                committee's view to look at.
     17     BY MR. CRUEGER:
     18                Q.        And these reviews, from Purdue's
     19     standpoint, were generally negative, correct?
     20                          MR. SNAPP:       Object to the form.
     21                          THE WITNESS:        There were
     22                statements in there, yes, that we
     23                believed would require more work for us
     24                to address.

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      1     BY MR. CRUEGER:
      2                Q.        And that's this Exhibit 17, this
      3     is an e-mail -- originally, it's actually two
      4     e-mails.      Originally, there is an e-mail that
      5     seems to be from you, although it doesn't say
      6     who -- who exactly it went to, correct?                   It
      7     starts with the line that's on June 23rd, 2015?
      8                A.        Yes.
      9                Q.        So from that on downward, that's
     10     the e-mail that you wrote, correct?
     11                A.        Correct.
     12                Q.        And without going through them,
     13     you had just highlighted a few quotes that you
     14     took out of what is Exhibit 16, correct?
     15                A.        Yes.
     16                Q.        And you sent them to Gail, if you
     17     could pronounce her name correctly.
     18                A.        Her name is Dr. Gail Cawkwell.
     19                Q.        Okay.     And her reaction was
     20     "sigh," correct?
     21                A.        That's what it says.
     22                          (Document marked for
     23                identification as Exhibit Fanelli-18.)
     24     BY MR. CRUEGER:

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      1                Q.        I'll hand you what's Exhibit 18.
      2     You don't actually have to read through this
      3     document.       I'm not going to ask you about all
      4     the contents.        I'm more interested in just a few
      5     parts of it, okay.
      6                A.        I just want to see what it is.
      7                Q.        Sure.     Oh, feel free to read it.
      8                A.        Okay.
      9                Q.        I'm actually just more interested
     10     in the first what is the -- it says, "dear EC
     11     members."       Before we get into that, this is an
     12     e-mail from Gail Cawkwell to various people, and
     13     it CCs you and other Purdue employees, correct?
     14                A.        Correct.
     15                Q.        And it attached that FDA briefing
     16     document, that would be Exhibit 16, correct?
     17                A.        So it states there, yes.
     18                Q.        And it says -- what I'm
     19     interested it says, "dear EC members," what is
     20     the EC?
     21                A.        The executive committee -- stands
     22     for the executive committee.
     23                Q.        Okay.     And what is the executive
     24     committee?

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      1                A.        The to -- on the to line you see
      2     the members of the executive committee.
      3                Q.        Okay.     And but what does the
      4     executive committee do?
      5                A.        Oh, it's heads of departments.
      6                Q.        Okay.     Heads of departments in
      7     Purdue?
      8                A.        Across Purdue.
      9                Q.        Okay.     And who is Stuart Baker?
     10                A.        Stuart Baker, I'm not sure of his
     11     title, he was a member of the executive
     12     committee.
     13                Q.        Is he a Purdue employee?
     14                A.        I'm not -- I believe he is.              I'm
     15     not sure.       He is an executive.          Purdue has --
     16     well, he's at Purdue.
     17                Q.        He's at Purdue?
     18                A.        Yes.
     19                Q.        So I'm just a little -- I just
     20     want to -- is everyone in this to line on the
     21     executive committee, are they all Purdue
     22     employees?
     23                A.        I don't know if Stuart has -- is
     24     an outside attorney or could be, I don't know

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      1     him that well.
      2                Q.        Okay.
      3                A.        I was not a member of the
      4     committee, but I know Stuart and everyone else,
      5     yeah, on the to line, they make up the executive
      6     committee.
      7                Q.        So you know Stuart, but you're
      8     not quite sure if he's a Purdue employee?
      9                A.        Yes, I don't -- I don't know
     10     his -- he works for the executives and the
     11     board.     I don't know what his title.
     12                Q.        Who does the executive committee
     13     report to?
     14                A.        The CEO, who is also listed on
     15     here.     At the time it was Mark Timney.
     16                Q.        Do you know if the briefing
     17     document, if it was sent to any of the owners of
     18     Purdue Pharma, the Sackler family?
     19                          MR. SNAPP:       Object to the form.
     20                          THE WITNESS:        I am not aware.
     21     BY MR. CRUEGER:
     22                Q.        I'm sorry.       I didn't under -- I
     23     didn't hear your answer to the question.
     24                A.        I apologize.        I do not know.

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      1                          (Document marked for
      2                identification as Exhibit Fanelli-19.)
      3     BY MR. CRUEGER:
      4                Q.        Sir, you've been handed Exhibit
      5     19.    This is an e-mail from you to Matthew
      6     Sullivan, correct?
      7                A.        Yes.
      8                Q.        And it's June 26, 2015, correct?
      9                A.        Yes.
     10                Q.        And the subject is Purdue's
     11     decision on OxyContin SDNA?
     12                A.        SNDA.
     13                Q.        SNDA, and then it's a number,
     14     S-026.
     15                          Just can you just quickly explain
     16     what an SNDA is?
     17                A.        Sure.     It's a supplemental new
     18     drug application.         Once a drug is approved the
     19     first time, that's the NDA and any changes,
     20     significant changes, of course, and this was
     21     supplement -- FDA makes the identification
     22     supplement number 26 for the OxyContin NDA.
     23                Q.        And does supplement number 26
     24     have anything to do with the abuse deterrent

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      1     formulation?
      2                A.        It did.
      3                Q.        And what was it?
      4                A.        This supplement was a labeling
      5     supplement to add the results that we've been
      6     talking about of the postmarketing studies after
      7     the change to the label with the data.
      8                Q.        So Purdue wanted to change the
      9     label to add information -- strike that.
     10                          Purdue wanted to change the label
     11     to add a statement that reformulated OxyContin
     12     reduced abuse in the community?
     13                          MR. SNAPP:       Object to the form.
     14                          THE WITNESS:        So that -- FDA has
     15                a guidance on information about opioids
     16                in a label.       I don't know if you want me
     17                to go into this, I'll just very briefly.
     18                The ones that you talked about first
     19                approval with the labeling, those were
     20                premarket studies, category 1 and
     21                category 3, which are testing for
     22                extraction, that's one.            Three is abuse
     23                liability studies, and FDA guidance is
     24                pretty clear, and there are now I don't

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      1                know how many current today opioids.
      2                There are numbers of them.
      3                          The last category, there's no
      4                drug yet approved with category 4 it's
      5                called, which is the real world data,
      6                and that's what this was.
      7     BY MR. CRUEGER:
      8                Q.        And what would that --
      9     practically, how would that change the label for
     10     the drug?
     11                A.        So there's a section, section 9
     12     which talks about the abuse liability and
     13     evidence, especially on these -- well, it's in
     14     many drugs, a lot of classes, but for the
     15     opioids, especially the abuse deterrent ones, it
     16     describes the results of those studies.
     17                Q.        And that SNDA number 26 and the
     18     studies, that's what we're referring to here in
     19     this -- with this Exhibit 16, that FDA briefing
     20     document, that's what that's talking about,
     21     correct?
     22                A.        Correct.
     23                Q.        And to sum up this e-mail that
     24     you're sending to Matthew Sullivan, Matthew is

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      1     at the -- Matthew Sullivan is an FDA employee?
      2                A.        He's a project manager in
      3     Dr. Hertz's division.
      4                Q.        And it's canceling the meeting
      5     that you were going to have with the FDA on I
      6     guess July 7th and 8th, 2015?
      7                A.        It's withdrawing the supplement
      8     is what this is about.
      9                Q.        Does that also cancel the meeting
     10     then?
     11                A.        Yes.
     12                Q.        And who made the decision to
     13     withdraw the supplement?
     14                A.        It was a decision -- I think the
     15     executive committee, maybe not all members.                    I
     16     don't remember who made -- you know, who was
     17     involved in that but members of the executive
     18     committee.
     19                Q.        Was it your decision?
     20                A.        Not alone.
     21                Q.        Were you involved in the
     22     decision?
     23                A.        Yes.
     24                Q.        Do you know what the basis for

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      1     the decision was to withdraw the application?
      2                A.        Yes.
      3                Q.        What was it?
      4                A.        Based on -- and you see it also
      5     talks about having a discussion with Dr. Hertz
      6     and Dr. Staffa at FDA.            Based on their review of
      7     the data and it was clear that more work had to
      8     be done prior to changing of the label.                   So the
      9     discussions were around continuing that work to
     10     address those limitations that they pointed out.
     11                Q.        Now, this -- Purdue's efforts on
     12     this abuse deterrent formulation and working
     13     with the FDA, is this a -- does Purdue view
     14     abuse deterrent formulation as a way -- as a way
     15     to keep out generics?
     16                A.        The goal of the abuse deterrent
     17     formulation is to address the abuse of the
     18     product.
     19                Q.        And Purdue would like to be able
     20     to use the abuse deterrent formulation in its
     21     marketing?
     22                          MR. SNAPP:       Object to the form.
     23                          THE WITNESS:        I'm not sure what
     24                you mean by "marketing."

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      1     BY MR. CRUEGER:
      2                Q.        Do you know whether Purdue wants
      3     to use any of the abuse deterrent formulation --
      4     strike that.
      5                          Do you know whether Purdue wants
      6     to use the ADF in its marketing to sell
      7     OxyContin?
      8                          MR. SNAPP:       Object to the form.
      9                          THE WITNESS:        Currently, we don't
     10                have a sales force and we are not using
     11                them in the promotion of our products.
     12     BY MR. CRUEGER:
     13                Q.        I guess my question is are you
     14     using this abuse deterrent -- are you using the
     15     abuse deterrent label in any way to sell the
     16     product that you know of?
     17                          MR. SNAPP:       Object to the form.
     18                          THE WITNESS:        The abuse deterrent
     19                was designed to address issues around
     20                misuse/abuse, and that's the goal, and
     21                that's why we're commercializing it as
     22                an abuse deterrent.
     23     BY MR. CRUEGER:
     24                Q.        And are you aware whether Purdue

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      1     is trying to use the abuse deterrent formulation
      2     to limit generic competition?
      3                          MR. SNAPP:       Object to the form.
      4                          THE WITNESS:        I'm not aware of
      5                anything like that.
      6                          MR. CRUEGER:        Just give you
      7                what's labeled Exhibit 20.
      8                          (Document marked for
      9                identification as Exhibit Fanelli-20.)
     10     BY MR. CRUEGER:
     11                Q.        By the way, Purdue sells what's
     12     often referred to as branded drugs, correct?
     13                A.        Yes.
     14                Q.        So and what that means is
     15     OxyContin is a branded drug, correct?
     16                A.        I would -- yes.
     17                Q.        And Purdue does not sell --
     18     Purdue Pharma does not sell generics, correct?
     19                A.        Correct, currently.
     20                Q.        And as a branded -- a distributor
     21     of a branded product, Purdue would like to limit
     22     generic competition, correct?
     23                          MR. SNAPP:       Object to the form.
     24                          THE WITNESS:        I have no answer to

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      1                that.
      2     BY MR. CRUEGER:
      3                Q.        Well, you were at Purdue in 2004
      4     when it lost patent protection on original
      5     OxyContin, correct?
      6                A.        Correct.
      7                Q.        And that had a substantial
      8     negative impact on Purdue, correct?
      9                A.        Correct.
     10                Q.        Because it allowed generics to
     11     come into the market and compete against Purdue,
     12     correct?
     13                          MR. SNAPP:       Object to the form.
     14                          THE WITNESS:        It resulted in a
     15                reduction in the sale of the branded
     16                product, yes.
     17     BY MR. CRUEGER:
     18                Q.        Right, from generic competition,
     19     correct?
     20                A.        Yes.
     21                Q.        And do you know what Purdue sales
     22     of OxyContin, original formulated OxyContin were
     23     prior to it losing patent protection?
     24                A.        I don't know the numbers.

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      1                Q.        Was it around $2 billion?
      2                          MR. SNAPP:       Object to the form.
      3                          THE WITNESS:        It might have been.
      4                It was something like that.
      5     BY MR. CRUEGER:
      6                Q.        And then it went down to -- with
      7     generic competition after about a year, it was
      8     down to about 6 or $700 million?
      9                          MR. SNAPP:       Object to the form.
     10                          THE WITNESS:        I don't know the
     11                exact number, but it was a significant
     12                reduction.
     13     BY MR. CRUEGER:
     14                Q.        And it resulted in layoffs at
     15     Purdue?
     16                A.        Correct.
     17                Q.        A reduction of the sales force,
     18     correct?
     19                A.        I'm not part of that business.               I
     20     believe so, but I don't know what happened in
     21     other areas outside of my area.
     22                Q.        And just really the whole point
     23     of this is generic competition doesn't really --
     24     is something Purdue would like to avoid,

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      1     correct?
      2                          MR. SNAPP:       Object to the form.
      3                          THE WITNESS:        It's not part of
      4                our business.
      5     BY MR. CRUEGER:
      6                Q.        Well, I don't think someone
      7     competing against you is part of anyone's
      8     business.
      9                          What I'm saying is you would --
     10     you, Purdue, would not want generics to compete
     11     against reformulated OxyContin, correct?
     12                          MR. SNAPP:       Object to the form.
     13                          THE WITNESS:        There are, based on
     14                exclusivity, we would -- yes, that's
     15                important that those are maintained, the
     16                exclusivity.
     17     BY MR. CRUEGER:
     18                Q.        So going back to this Exhibit 20
     19     that I handed you, it's a 2015 e-mail.
     20                A.        Correct.      2015, yeah.
     21                Q.        The e-mail that's interesting is
     22     the one that you sent to Douglas Throckmorton.
     23                A.        That's correct.
     24                Q.        And he's at FDA, correct?

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      1                A.        Correct.
      2                Q.        And the e-mail just summarizes --
      3     it sounds like a discussion and some points that
      4     you wanted to put in writing to convey to the
      5     FDA, correct?
      6                A.        Correct.
      7                Q.        And I just wondering a little bit
      8     about what some of those points are.
      9                          So one of them is the
     10     clarification of the scope of ADF exclusivity,
     11     it's the second point you make.
     12                          Do you see that?
     13                A.        Yes.
     14                Q.        Can you explain what you're
     15     really talking about there?
     16                A.        Sure.     So this was a meeting
     17     about opioid abuse deterrents with -- I can't
     18     remember all the attendees from FDA side, but
     19     Gail Cawkwell, Robin Abrams and myself with FDA,
     20     including Dr. Throckmorton, and we discussed a
     21     number of topics.
     22                          That particular one, FDA has made
     23     statements, recently as well, about the value of
     24     abuse deterrents in this class of drugs and has

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      1     made statements about exclusivity around those
      2     properties.
      3                Q.        In other words, to boil all that
      4     down when we're talking about exclusivity, that
      5     means the FDA would grant some sort of
      6     exclusivity to limit generic competition for an
      7     ADF formulation?
      8                          MR. SNAPP:       Object to the form.
      9                          THE WITNESS:        So products get --
     10                we talked about that I think
     11                yesterday -- get exclusivity based on
     12                products, class and supplements, you
     13                know, the nature of the data in order to
     14                incentivize doing that work, and that's
     15                what that discussion was.
     16     BY MR. CRUEGER:
     17                Q.        But again, I just want to make
     18     sure I understand what you're saying, because I
     19     think the -- isn't the perhaps more blunt but
     20     concise way of saying it is you want exclusivity
     21     for developing the abuse deterrent formulation?
     22                          MR. SNAPP:       Object to the form.
     23                          THE WITNESS:        Correct.
     24     BY MR. CRUEGER:

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      1                Q.        Well, the points aren't numbered,
      2     it's the point that starts with "class-wide."
      3                          You see where I am?          It's third
      4     from the bottom, third point from the bottom.
      5                A.        Correct.
      6                Q.        So it says, "Class-wide
      7     immediate-release opioid labeling to reflect
      8     demonstrated substantial abuse and addiction
      9     risk of such products."
     10                          What did you mean by that?
     11                A.        So I don't have the -- a
     12     transcript of this, but these are some of the
     13     discussions that we had.            I can't remember who
     14     brought it up first, but FDA actually has taken
     15     steps related to that.            All of the IRs now have
     16     a boxed warning.         They all are, as of very
     17     recently, changed the boxed warning and include
     18     statements about the REMS, and they're now part
     19     of the REMS, so that are the kinds of things
     20     that were discussed.
     21                Q.        And that's something that you
     22     wanted, that boxed warning?
     23                A.        We didn't get to specifics of,
     24     you know, to that level, but to point out that

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      1     there is substantial abuse of those
      2     immediate-release products.
      3                Q.        So what Purdue wanted and what
      4     you were conveying here is you wanted the label
      5     changed for immediate-release opioids to reflect
      6     a substantial abuse and addiction risk, correct?
      7                A.        No.    There was a discussion -- as
      8     I said, I don't remember who brought it up or
      9     how it was brought up.            This whole discussion,
     10     we've had two or three of them now that I've
     11     been involved in, meeting with FDA leadership
     12     about actions we're taking or ways to address,
     13     we talked about the opioid crisis, and that was
     14     one that we talked about was by increasing those
     15     warnings on IR products because of the amount of
     16     abuse that's in that -- those group of products
     17     would be beneficial to address that issue.
     18                Q.        So -- and your extended-release
     19     OxyContin product competes against the
     20     immediate-release products, correct?
     21                          MR. SNAPP:       Object to the form.
     22                          THE WITNESS:        The actual -- the
     23                labeling for OxyContin talks about a
     24                limitations of use that -- and we could

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      1                read it, but after -- OxyContin is only
      2                to be prescribed, at least as listed in
      3                the limitations of use, after other
      4                agents are tried and it includes
      5                immediate release.
      6     BY MR. CRUEGER:
      7                Q.        Right, but after -- in the world
      8     of the market, one of the drugs that OxyContin
      9     extended-release or any extended-release product
     10     competes against would be an immediate-release
     11     product, correct?
     12                          MR. SNAPP:       Object to the form.
     13                          THE WITNESS:        So I don't know
     14                what you mean by "competes."
     15                          You know, prescribers make a
     16                determination whether an IR opiate is
     17                appropriate or an extended-release.
     18                They don't have the same indication, so
     19                they're not in the same class.
     20     BY MR. CRUEGER:
     21                Q.        Well, would you agree, Dr.
     22     Fanelli, when I -- when I read through all the
     23     points that we're making, they all look like
     24     points that Purdue is discussing with the FDA to

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      1     in one way or other restrict people from
      2     competing with your reformulated OxyContin
      3     product?
      4                A.        No, that's not how --
      5                          MR. SNAPP:       Object to the form.
      6                          THE WITNESS:        Sorry.
      7                          These discussions with FDA did
      8                not include commercial discussions.
      9                They were all about addressing opiate
     10                abuse and what steps we could take to
     11                address that.
     12     BY MR. CRUEGER:
     13                Q.        So what -- what is the branded
     14     industry working group?
     15                A.        So that's not the -- I'm not
     16     that -- I've heard of it, and without seeing
     17     documents, I can't remember which exact project
     18     that is.
     19                Q.        Do you have more than one like
     20     industry -- branded industry working group?
     21                A.        Yes.
     22                Q.        So what do they -- how many of
     23     them are there?
     24                A.        There -- the one that I'm -- the

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      1     regulatory representative for the branded
      2     industry is related to the class-wide PMR
      3     requirements, those 11 studies.               I am the
      4     regulatory representative of all those companies
      5     to the FDA, FDA liaison function.                So, as a
      6     matter of fact, I got an FDA e-mail that they
      7     want to talk to the brand -- but it -- so it
      8     depends on what you're talking about and what
      9     the timing is.
     10                          (Document marked for
     11                identification as Exhibit Fanelli-21.)
     12     BY MR. CRUEGER:
     13                Q.        So this one seems to be about --
     14     this Exhibit 21 that I've handed you --
     15                A.        Yes.
     16                Q.        -- this one is an evaluation of
     17     abuse deterrent properties of opioid drug
     18     products.
     19                          So that would be a different
     20     industry working group?
     21                A.        So -- yes.       And I attended, I
     22     think I was on there, I know Purdue had
     23     representation, I don't know if it was myself or
     24     Todd, I know about it.

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      1                          FDA had a public meeting about
      2     evaluation of the abuse deterrent properties of
      3     opiate drugs.        We talked about there are
      4     guidances that are out there about the different
      5     categories of studies.            This is looking at
      6     premarket evaluation, how those studies are
      7     conducted.       And, actually, the guidance for the
      8     branded products was already out there.                   FDA had
      9     made public statements that they were going to
     10     be providing abuse deterrent guidance for the
     11     generic products as well so that to help those
     12     products know what they needed to do to get
     13     approval.
     14                Q.        So I just noticed this isn't
     15     Bates numbered, so it must have come from a
     16     native file, so we'll have to get the Bates
     17     number for it, but -- so if you go to I think
     18     it's page 10 it says "OD Opioid Development:
     19     Category 1 Studies" at the top.
     20                A.        Yes, I'm on that page.
     21                Q.        About -- it's closer to the
     22     bottom, it's actually, it's a point that's above
     23     formulation plus process equals AD
     24     characteristics, there's a -- like a double

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      1     indented subpoint there.
      2                A.        Yes.
      3                Q.        Do you see that?
      4                A.        I think so, yeah.          It starts with
      5     "risk."
      6                Q.        So "risk of approving generic AD
      7     products would non-equivalent abuse deterrent
      8     properties."
      9                          What risk is this referring to?
     10                          MR. SNAPP:       Object to the form.
     11                          THE WITNESS:        Again, we talked
     12                about category 1 studies.             Those are
     13                studies that in vitro testing, looking
     14                at different solutions, whether in a
     15                test tube, you could extract the agent
     16                and although -- I believe although,
     17                again, it's been a while, and I didn't
     18                write this particular statement, but I
     19                was -- I can't remember if I was at the
     20                meeting or read the transcripts, but the
     21                issue there was if a generic drug -- if
     22                the branded drug has certain abuse
     23                deterrent properties demonstrated by
     24                those studies, it would be important

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      1                that a generic of that drug had at least
      2                the same abuse deterrents, and FDA has
      3                now, as a matter of fact, in a recent
      4                advisory committee looking at not
      5                generics but branded products in a
      6                similar -- for a similar molecule and
      7                are evaluating the same.
      8                          It's difficult to do because, you
      9                know, these different studies and they
     10                have different technologies, you talked
     11                about hardness, and there's different
     12                technologies, and there's -- there was a
     13                statement that would be important that a
     14                generic is at least as abuse deterrent
     15                as the brand.
     16                Q.        And so that would be a standard
     17     that a generic would have to meet before it
     18     could get approval, correct?
     19                          MR. SNAPP:       Object to the form.
     20                          THE WITNESS:        This was a
     21                discussion of what should be in that
     22                guidance, and that was talking about
     23                that, yes.
     24     BY MR. CRUEGER:

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      1                Q.        And then if you go to the fifth
      2     page it says "Public Health Imperative."
      3                A.        Back to the front five, okay.
      4                Q.        And so just -- so this is the --
      5     an industry group presentation to the FDA,
      6     correct?
      7                A.        Correct.
      8                Q.        And it's Purdue and it's all the
      9     other companies that are listed on page 2.                    I'm
     10     not going to read them off.
     11                A.        I see that, yes.
     12                Q.        And on this page it talks about
     13     the "opioid epidemic requires action from
     14     multiple stakeholders to address the crisis,"
     15     correct?
     16                A.        Yeah, I'd like to point out on
     17     page 2 there's a statement at the bottom, the
     18     views expressed in this presentation represent
     19     the best available consensus of the branded
     20     industry working group as a whole.                So remember
     21     this was a public meeting where there was
     22     discussion of these topics.              These are views --
     23     it's not each of those companies did not sign
     24     off on each of these views, but just to put that

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      1     in context.
      2                Q.        But there seems to be a consensus
      3     at least on what's in this PowerPoint, correct?
      4                A.        That's what -- yes, that's how it
      5     was designed.
      6                Q.        And so there's also then a
      7     consensus on actions that are required to
      8     address the crisis, correct?
      9                A.        There are some statements in here
     10     addressing that, but that wasn't the focus of
     11     the meeting.
     12                Q.        No, but they're in the
     13     PowerPoint, correct?
     14                A.        Yes.
     15                Q.        And so there's a consensus on
     16     what an FDA opioid action plan, correct?
     17                A.        That's stated there, yes.
     18                Q.        And then there's a consensus on
     19     treating the problem, what's needed to treat the
     20     problem, correct?
     21                A.        Mm-hmm.
     22                Q.        And this includes medicated --
     23     medication assisted therapy for addiction,
     24     correct?

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      1                A.        Mm-hmm, yes.
      2                Q.        And then the third part, and
      3     so -- so just actually -- so does the FDA --
      4     there's treatment is another way to remedy the
      5     problem, correct?
      6                A.        Yes.
      7                Q.        And then the third part of this
      8     prong supposedly is abuse deterrent opioids,
      9     correct?
     10                A.        That's the third listed here.
     11                Q.        Right.     And that's just one -- it
     12     even says in here it's just one component of
     13     this multi-faceted approach, correct?
     14                A.        Yes.
     15                          MR. CRUEGER:        Just for the
     16                record, so Exhibit 21 was produced to us
     17                as Bates number PPLPC01600319013, and it
     18                was labeled highly confidential, subject
     19                to protective order.           If you just want
     20                to take a quick break, and then we'll
     21                come back and wrap it all up.
     22                          THE VIDEOGRAPHER:          All right.
     23                The time is 4:04 p.m., going off the
     24                record.

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      1                          (Brief recess.)
      2                          THE VIDEOGRAPHER:          We are back on
      3                the record.       The time is 4:22 p.m.
      4     BY MR. CRUEGER:
      5                Q.        Dr. Fanelli, we're looking at
      6     Exhibit 15.       You have that in front of you,
      7     correct?
      8                A.        I do.
      9                Q.        If you turn to page 45, and
     10     before I ask you any questions, this document
     11     is -- this was prepared by Purdue, correct?
     12                A.        I believe so.        I don't see any
     13     author, and we talked about that earlier, I
     14     don't see the cover for this.              It has a
     15     demarcation of our NDA, so either by Purdue or
     16     for Purdue.
     17                Q.        Okay.     If you go to page 45,
     18     that's paragraph 3.13.            It's called "Prescribing
     19     Patterns Among Potentially High Risk
     20     Prescribers."
     21                          Do you see me, where I'm at?
     22                A.        Yes, I see.
     23                Q.        The first sentence starts with
     24     "using IMS Exponent data."

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      1                          Do you know what IMS Exponent
      2     data is?
      3                A.        I do not.      I know what IMS is,
      4     but I don't know what Exponent data are.
      5                Q.        So what is IMS?
      6                A.        It's a -- I guess it's a
      7     business, I'm not even that aware of what their
      8     -- my understanding is they provide to
      9     prescription -- or to pharmaceutical companies
     10     data about prescription of their products.
     11                Q.        So but what can happen is a
     12     company like Purdue can go to IMS and buy data
     13     about prescriptions that are being written for
     14     OxyContin, for example?
     15                A.        That's my --
     16                          MR. SNAPP:       Object to the form.
     17                          THE WITNESS:        That's my
     18                understanding.
     19     BY MR. CRUEGER:
     20                Q.        Okay.     And if you could quickly
     21     read that section, so I can just ask you
     22     questions about it, this page 45 to 46.
     23                A.        (Witness reviews document.)
     24                          Those two pages, yeah.

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      1                Q.        Yes.
      2                A.        So I finished.
      3                Q.        So just to try to quickly
      4     summarize what this is, this is Purdue is trying
      5     to show a benefit of its reformulated OxyContin
      6     drug, correct?
      7                          MR. SNAPP:       Object to the form.
      8                          THE WITNESS:        What we're
      9                reporting on are data that we have.                 I
     10                don't even know -- results that we have
     11                on investigations we were doing around
     12                the abuse deterrence, and these are the
     13                data.
     14     BY MR. CRUEGER:
     15                Q.        And so what Purdue did is it went
     16     out and it purchased the data about the
     17     prescription practices of 321 doctors who
     18     they've identified as engaging in potentially
     19     suspicious or questionable prescribing, correct?
     20                          MR. SNAPP:       Object to the form.
     21                          THE WITNESS:        I'm not -- this is
     22                a summary.       I'm not that familiar with
     23                the details to this level.             Oh, I see
     24                where you quoted the number.              I see that

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      1                now, that's what it states, yes, 312.
      2     BY MR. CRUEGER:
      3                Q.        And it's -- what Purdue has done
      4     is it's purchased the data to show the
      5     prescribing practices of these 321 doctors in
      6     prescribing 80-milligram OxyContin, correct, the
      7     graph on page 46?
      8                          MR. SNAPP:       Object to the form.
      9                          THE WITNESS:        So what that
     10                graph -- as I'm seeing this, I don't
     11                remember seeing this report that we're
     12                talking about.         It looks like reports
     13                over time related to the OxyContin
     14                reformulation, yes.
     15     BY MR. CRUEGER:
     16                Q.        And what Purdue is doing is
     17     they're showing the change in prescriptions for
     18     80-milligram OxyContin to prescriptions of
     19     40-milligram Opana ER, correct?
     20                A.        Those are the two graphs there,
     21     yes.
     22                Q.        And what it's showing is that
     23     when Purdue introduced the reformulated
     24     OxyContin, it showed a drop in prescriptions of

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      1     80-milligram OxyContin by these identified --
      2     these 321 prescribers, correct?
      3                A.        Yes.
      4                Q.        And at the same time it shows an
      5     increase in prescriptions by these same
      6     prescribers of the Opana ER 40-milligram,
      7     correct?
      8                A.        That's what's shown on that
      9     graph, yes.
     10                Q.        And the inference that is -- one
     11     of the inferences, would you agree that Purdue
     12     wants to be drawn from this -- these two graphs
     13     is that these doctors stop prescribing
     14     reformulated OxyContin because of the
     15     reformulation, correct?
     16                          MR. SNAPP:       Object to the form.
     17                          THE WITNESS:        Again, this is an
     18                interim report, but what it states
     19                there, these reserve changes are
     20                consistent with reduced diversion
     21                following the introduction of the
     22                reformulation.
     23     BY MR. CRUEGER:
     24                Q.        Well, that's what's interesting,

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      1     so it's showing -- these are really two graphs
      2     about diversion; are they not?
      3                A.        It's a trend of prescriptions.
      4                Q.        But they're a trend of
      5     prescriptions among prescribers that Purdue has
      6     identified as engaging in suspicious or
      7     questionable prescribing activities, correct?
      8                A.        Correct.
      9                Q.        And it shows a reduction in
     10     OxyContin once reformulated OxyContin is
     11     introduced, correct?
     12                A.        Yes.
     13                Q.        And it shows a corresponding
     14     increase in Opana ER 40-milligram prescriptions,
     15     correct?
     16                A.        There is an increase of Opana.
     17                Q.        And so isn't this just Purdue
     18     showing how it can actually track, if it really
     19     wants to, suspected diversion at the prescriber
     20     level?
     21                          MR. SNAPP:       Object to the form.
     22                          THE WITNESS:        So, again, this
     23                is -- there are a number of studies,
     24                and, as we talked about a little while

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      1                ago, each has their limitations, has to
      2                be interpreted based on those
      3                limitations, but this is part of the
      4                data that's presented and --
      5     BY MR. CRUEGER:
      6                Q.        Do you know if -- do you know if
      7     Purdue shared any of this data and information
      8     with state or federal law enforcement?
      9                A.        I'm not aware of that, whether or
     10     not.
     11                          (Document marked for
     12                identification as Exhibit Fanelli-22.)
     13     BY MR. CRUEGER:
     14                Q.        I'll just hand you what's labeled
     15     Exhibit 22.
     16                A.        Oh, sorry, I got it.
     17                Q.        So the e-mail, in general,
     18     they're referring to Grunenthal, and that's a
     19     German company that Purdue licensed patents that
     20     cover some of the ADF technology, correct?
     21                A.        Yes.    I'm not that familiar with
     22     those patents, but I've -- that's my
     23     understanding as well.
     24                Q.        And McGinity, is that -- that's

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      1     another patent that Purdue licensed, correct?
      2                A.        That's my understanding.
      3                Q.        It's referred to commonly as the
      4     University of Texas patent?
      5                A.        I'm not aware of that.
      6                Q.        What I'm interested in is they're
      7     talking about -- talking about maybe that Rhodes
      8     would also license the patents, correct?
      9                A.        So there's discussion of that.               I
     10     have never -- I don't recall ever -- I'm not
     11     copied on this e-mail and wouldn't be.                  These
     12     kinds of conversations, discussions are not part
     13     of regulatory.
     14                Q.        I'm actually not even going to
     15     ask you about the licensing.
     16                A.        Okay.
     17                Q.        I'm actually going to ask you, it
     18     says in the middle of this e-mail, it says, "I
     19     encouraged them to talk to Jon Sackler before
     20     they conclude."
     21                          Do you see what I'm reading on
     22     the cover page?
     23                A.        On the first page, yeah.
     24                Q.        Who is Jon Sackler?

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      1                          MR. SNAPP:       Object to the form.
      2                          THE WITNESS:        He's, I believe,
      3                although has been, I think, a board
      4                member, but, again, I don't -- that's
      5                where I -- my interactions with Jon
      6                Sackler have been is at board meetings.
      7     BY MR. CRUEGER:
      8                Q.        So he's a member of the Sackler
      9     family?
     10                A.        Yes.
     11                Q.        Does he play an active role in
     12     Purdue Pharma?
     13                          MR. SNAPP:       Object to the form.
     14     BY MR. CRUEGER:
     15                Q.        That you're aware of?
     16                          MR. SNAPP:       Object to the form.
     17                          THE WITNESS:        He's at board
     18                meetings where they make decisions, yes.
     19     BY MR. CRUEGER:
     20                Q.        Does he have an office at Purdue
     21     Pharma?
     22                          MR. SNAPP:       Object to the form.
     23                          THE WITNESS:        I'm not sure.
     24     BY MR. CRUEGER:

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      1                Q.        In your role, you work with
      2     attorneys a lot at Purdue Pharma?
      3                A.        I don't know what you mean by "a
      4     lot," but we talked about MRL, so medical,
      5     regulatory and law, so there are law individuals
      6     on the teams reviewing material, for instance.
      7     There's a regulatory attorney who is part of
      8     project team, so I do work with the law
      9     department.
     10                Q.        And I don't know if you would
     11     know, but there's approximately 5,000 plus
     12     e-mails of yours that have been designated as
     13     confi -- as withheld under the attorney-client
     14     privilege.
     15                          What's your understanding of the
     16     attorney-client privilege?
     17                          MR. SNAPP:       Object to the form.
     18                          THE WITNESS:        I don't have a -- I
     19                understand that it's related to
     20                confidentiality between attorney and
     21                client, but that's the extent of it.
     22     BY MR. CRUEGER:
     23                Q.        And when do you include an
     24     attorney on an e-mail and when do you not?

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      1                          MR. SNAPP:       Object to the form.
      2     BY MR. CRUEGER:
      3                Q.        Is there any sort of --
      4                A.        It would depend on the project.
      5                Q.        Did you have any guidance or
      6     training on when to include attorneys on e-mails
      7     and when not?
      8                A.        I would include attorneys -- for
      9     instance, we talked about it, if they're part of
     10     the project that I'm dealing with.                They would
     11     be included -- there are attorneys on the -- the
     12     executive committee we talked about, so that's
     13     when they would be included.
     14                Q.        And do a lot of the attorneys
     15     that you do work with, are they actually more in
     16     the area of giving you business advice, or is it
     17     legal advice, or is it a mix of the two?
     18                          MR. SNAPP:       Object to the form.
     19                          THE WITNESS:        Not business --
     20                what do you mean by "business advice"?
     21     BY MR. CRUEGER:
     22                Q.        Well, what would you mean by
     23     legal advice?        I mean, isn't -- you have to know
     24     the difference between the two, don't you?

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      1                          MR. SNAPP:       Object to the form.
      2                          THE WITNESS:        The advice that I
      3                get is related to laws and regulations
      4                around development and approval of
      5                products, so that's what it would be
      6                about.
      7                          MR. CRUEGER:        Okay.    I have no
      8                further questions.
      9                          THE VIDEOGRAPHER:          Off the
     10                record?
     11                          MR. CRUEGER:        Yes.
     12                          THE VIDEOGRAPHER:          Stand by.      The
     13                time is 4:38 p.m., off the record.
     14                          (Pause.)
     15                          THE VIDEOGRAPHER:          We are back on
     16                the record.       The time is 4:45 p.m.
     17     BY MR. STEWART:
     18                Q.        Dr. Fanelli, you said moments ago
     19     that you had interactions with Jon Sackler at
     20     Purdue board meetings.
     21                          Do you recall that?
     22                A.        Jon Sackler was present at board
     23     meetings, yes, that I would see --
     24                Q.        That's when you would interact

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      1     with him?
      2                A.        Yes.
      3                Q.        And how many Purdue board
      4     meetings do you think you've spoken at or
      5     presented at in your career at Purdue?
      6                A.        It would be a very rough guess, a
      7     dozen maybe.
      8                Q.        Do Purdue board meetings, do they
      9     take minutes?
     10                A.        Do they --
     11                Q.        Do they take minutes of
     12     proceedings?
     13                          MR. SNAPP:       Object to the form.
     14                          THE WITNESS:        Not that I have
     15                been given.
     16     BY MR. STEWART:
     17                Q.        Okay.     You just don't know?
     18                A.        I don't know.
     19                Q.        Are board meetings recorded that
     20     you know?
     21                A.        I don't know.
     22                Q.        In some of the dozen -- estimated
     23     dozen times you've been before the board, have
     24     you given written presentations, brought

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      1     materials?
      2                A.        A few times, slide decks.
      3                Q.        Okay.     Have you given any
      4     presentations to the board related to OxyContin?
      5                A.        Not that I recall.
      6                Q.        Do you think you'd recall that?
      7                A.        I wouldn't have been specifically
      8     OxyContin.       It might have been on talking about
      9     something in general of our products.
     10                Q.        Have you talked to the board --
     11     well, tell me, what do you remember about the
     12     times you attended board meetings and presented?
     13                A.        I can give you a couple examples.
     14                Q.        Sure.
     15                A.        As the head of regulatory, Purdue
     16     was looking at a biologic product, so that's a
     17     typical thing.        The board was interested in what
     18     are the requirements for approval of a biologic
     19     product.      So I gave a presentation regarding
     20     that.     And the other one I remember well was --
     21     or at least that I remember is related to
     22     buprenorphine development and the requirements.
     23                Q.        Do you remember any board
     24     meetings about addiction and abuse relating to

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      1     OxyContin?
      2                A.        The general topic or --
      3                Q.        Yes.
      4                A.        Not that I recall.
      5                Q.        Do you remember any board meeting
      6     at which you were brought in to discuss a safety
      7     issue relating to OxyContin?
      8                A.        I don't recall being in the
      9     meeting or -- no.
     10                Q.        What meeting are you referring to
     11     when you say "being in the meeting"?
     12                A.        So besides attending board
     13     meetings, I would prepare documents, regulatory
     14     portions, for instance, the head of R&D, who I
     15     would report to, was giving a presentation, and
     16     I would give portions.            For instance, we're
     17     developing an abuse deterrent, the one I
     18     mentioned about IR, there was an advisory
     19     committee, and I presented what the plans were
     20     to address that, those kinds of things.
     21                Q.        Where if we wanted to give all of
     22     the meetings and documents that you prepared for
     23     presentation to the Purdue board, what's the
     24     easiest way to get -- to assemble that material?

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      1                A.        Those -- the ones that I would
      2     produce I believe are on my computer.
      3                Q.        Do you know whether records are
      4     kept of the materials that are brought before
      5     the board of Purdue and its respective
      6     committees?
      7                A.        I don't know the handling of
      8     those documents.
      9                          (Document marked for
     10                identification as Exhibit Fanelli-23.)
     11     BY MR. STEWART:
     12                Q.        I'd like to turn your attention
     13     to 23, which is a clipped group of documents.
     14     And Bates numbers appear to be contiguous.
     15     Could you turn -- well, first of all, could you
     16     read the front page of Exhibit 23.                Tell me if
     17     you recognize it.
     18                A.        (Witness reviews document.)              I
     19     recognize it, yes.
     20                Q.        What is it?
     21                A.        So this is dated -- hold on --
     22     dated May 2015, part of preparing for any
     23     advisory committee, as part of that, the SOP we
     24     talked about yesterday, it's not really an SOP

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      1     but a planning document, there are practice
      2     sessions, and looking at this, I don't recall
      3     this specific document, but it says it's a draft
      4     briefing document in preparation of that meeting
      5     is what the author is saying.
      6                Q.        And turn the page to the page
      7     that's marked 4178.
      8                A.        Mm-hmm.
      9                Q.        Do you see that?         Do you see that
     10     in this thread of e-mails is an e-mail that you
     11     wrote?
     12                A.        Mm-hmm.
     13                Q.        And do you see that you're
     14     talking about the preparation for the FDA
     15     advisory committee?
     16                A.        Yes.
     17                Q.        And what were you all preparing
     18     to do before the FDA advisory committee?
     19                A.        So all advisory committees have
     20     presentations by the sponsor, and that was what
     21     we were preparing -- I think, hold on a second.
     22     That's what we would be doing in a practice
     23     session, practice, sorry.
     24                Q.        And can you turn to the page

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      1     marked 4180.
      2                A.        Yes.
      3                Q.        And do you see that this is the
      4     cover page of the document that you're routing
      5     around entitled "Advisory Committee Briefing
      6     Materials"?
      7                A.        That's what it says, yes.
      8                Q.        And is this a draft of materials
      9     that ultimately would be provided to the FDA
     10     advisory committee?
     11                A.        That's what a draft briefing
     12     document -- there's requirements by sponsors to
     13     provide a briefing package to the committees, to
     14     the FDA.
     15                Q.        The point is you're pointing
     16     something together that ultimately would be
     17     given to the FDA advisory committee?
     18                A.        Yes, this is a draft of that
     19     piece.
     20                Q.        Okay.     It's something that the
     21     company is going to use to communicate with the
     22     FDA?
     23                A.        Yes.
     24                Q.        And do you remember what the

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      1     advisory committee, the FDA advisory committee
      2     meeting on July 7th, 8th, 2015 was going to be
      3     discussing?
      4                A.        Yes, the reformulated OxyContin
      5     and this data related to it.              As we discussed,
      6     that was related to a supplement we had
      7     submitted to add the category 4 data to the
      8     label, package insert.
      9                Q.        I take it when you present
     10     materials to an FDA advisory committee, you're
     11     attempting to present truthful and accurate
     12     materials?
     13                A.        Yes.
     14                Q.        Could you turn to page -- the
     15     page marked 4267.
     16                A.        It's in the second part.             4267?
     17                Q.        Yeah.
     18                A.        Okay.
     19                Q.        And do you see there's a number
     20     12, and next to the number 12 on page that's
     21     marked 4267, there's a heading that says
     22     "Supportive Study 9:           Changes in Doctor-Shopping
     23     Rates for OxyContin and Comparator Opioids"?
     24                A.        I see that, yes.

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      1                Q.        Does that describe a study that
      2     Purdue conducted?
      3                A.        It was part of the package of
      4     studies, the data that were submitted at that
      5     time.     Purdue conducted -- Purdue was involved
      6     in it.     I'm not sure who conducted that study.
      7                Q.        Was it -- put it this way, is
      8     Purdue relying on the study in its presentation
      9     to the FDA?
     10                A.        We are showing these -- this is
     11     a -- I don't have the final document, but this
     12     is a draft of what was deemed might -- could end
     13     up in that document to FDA.
     14                Q.        Was there a final document that
     15     was submitted to the FDA for the advisory
     16     meeting that was held in 2015?
     17                A.        There was.
     18                Q.        So there was a final document, a
     19     final version of the document that we're looking
     20     at now produced to the FDA?
     21                A.        I believe there was.
     22                Q.        Okay.     So if we wanted to know
     23     the final statement that Purdue made to the FDA,
     24     we'd want to look at that final version and see

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      1     if anything changed from this version, fair?
      2                A.        Yes.
      3                Q.        Okay.     Summarizing this study, is
      4     this a study where Purdue is presenting
      5     information from the IMS, a prescription
      6     database, that calculates doctor shopping rates
      7     for particular products?
      8                          MR. SNAPP:       Object to the form.
      9                          THE WITNESS:        It's stated, again,
     10                these are -- there's many studies in
     11                here, some pivotal -- not pivotal --
     12                some prime, some supportive, that at the
     13                time were under investigation.
     14                          This is -- the source is IMS
     15                database, and it's one of the studies
     16                that was ongoing.
     17     BY MR. STEWART:
     18                Q.        Do you see on page 4268 the last
     19     paragraph on the page it says, "Product-specific
     20     doctor-shopping rates were estimated for each
     21     6-month calendar interval.             The prescriptions of
     22     a specific product, (e.g. OxyContin) for each
     23     patient were aligned by prescription start date
     24     and number of days supply."

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      1                          Do you see that?
      2                A.        Yes.
      3                Q.        I mean, what this paragraph sets
      4     out is the methodology of a measurement of
      5     doctor shopping; is that fair?
      6                A.        Yes.
      7                Q.        And then could you turn to page
      8     4271.
      9                A.        I'm sorry, 42?
     10                Q.        71.
     11                A.        Yes.
     12                Q.        And do you see there's a graph on
     13     the top of 4271 entitled "Change in
     14     doctor-shopping rates for objection from
     15     pre-to-post-reformulation, by number of doctors
     16     and pharmacies with overlapping prescriptions"?
     17                A.        Yes, I see that.
     18                Q.        So what this study is showing
     19     here is a measurement of the change in doctor
     20     shopping that this study suggests occurred
     21     between the pre -- the time when you had
     22     preformulated OxyContin and then the
     23     post-reformulated OxyContin; is that fair?
     24                A.        Yes.

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      1                Q.        Okay.     Can you turn to page 4272.
      2     And do you see on page 4272 there's a heading 13
      3     entitled "Supportive Study 10: Changes in
      4     OxyContin Diversion with Reformulation in the
      5     RADARS Drug Diversion Program"?
      6                A.        Yes.
      7                Q.        And do you see -- do you recall
      8     this study?
      9                A.        No, I do not.
     10                Q.        Okay.     I take it if it's being
     11     reported to the FDA, then at least in the final
     12     version, you're going to have an accurate
     13     description of the study provided to the FDA
     14     advisory committee?
     15                A.        So, again, there are studies both
     16     within Purdue and across Purdue about doctor
     17     shopping.       This is a draft, an accurate draft of
     18     the methodology that were conducted and at the
     19     time what the results were, if that's what
     20     you're asking.
     21                Q.        That's correct.
     22                          And do you see -- turn to page
     23     4274.     Do you see that there's a table 21 and it
     24     shows "Changes in Rates of Diversion After

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      1     Reformulation of OxyContin in the RADARS Drug
      2     Diversion Study"?
      3                          Do you see that?
      4                A.        Yes.
      5                Q.        And do you see at the top line
      6     it's got OxyContin and it shows the changing
      7     rates of diversion over time?
      8                A.        Yes.
      9                Q.        And while this is a draft report,
     10     I take it you'd agree that what Purdue presented
     11     to the FDA advisory committee is an analysis of
     12     changes in diversion over time of OxyContin,
     13     among other information?
     14                          MR. SNAPP:       Object to the form.
     15                          THE WITNESS:        So it never went to
     16                an advisory committee.            What we were --
     17                this would have been a briefing document
     18                to FDA, and as we talked earlier, that
     19                advisory committee was postponed.
     20     BY MR. STEWART:
     21                Q.        It was submitted to the FDA, but,
     22     ultimately, the advisory committee itself didn't
     23     receive it is what you're saying?
     24                A.        Correct.

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      1                Q.        Okay.     I think we've covered
      2     this, but could you turn back to page 4272.                    Do
      3     you see there's a Section 13.2 Population that
      4     states, "individuals identified by law
      5     enforcement officers as engaging in diversion of
      6     prescription opioids.           In the 4th quarter 2013,
      7     there were 219 participating agencies in 49
      8     states covering 28% of the population."
      9                          Do you see that?
     10                A.        Yes.
     11                Q.        That's a description of the
     12     RADARS coverage?
     13                A.        Yes.
     14                Q.        Do you happen to know which state
     15     is not included?
     16                A.        I do not.
     17                Q.        Do you know whether Tennessee is
     18     the -- is included in the 49 states covered by
     19     RADARS?
     20                A.        I do not.
     21                Q.        Turn to page 4276, and do you see
     22     there's a paragraph 14 entitled "Supportive
     23     Study 11: OxyContin Prescribing Patterns Among
     24     Potentially High Risk Prescribers"?

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      1                A.        Yes.
      2                Q.        Do you recall this study?
      3                A.        No, not in detail -- well, no.               I
      4     know that there was a study related to ADD that
      5     was part of Paul's -- Dr. Coplan's write-up at
      6     the time.       I don't remember the details.
      7                Q.        Do you remember that prescribing
      8     habits of doctors who had been identified as
      9     potentially involved in diversion were compared
     10     to the prescribing habits of doctors who had not
     11     been so identified by Purdue?
     12                A.        So we talked about that earlier.
     13     I was not -- I do not recall prior to today what
     14     the details were of that particular study.
     15                Q.        We'd have to look in the study to
     16     see the exact -- the best place to look to
     17     figure out what the details were or a good place
     18     would be in this report right here, fair?
     19                          MR. SNAPP:       Object to the form.
     20                          THE WITNESS:        This report is a
     21                draft description of that study, yes.
     22     BY MR. STEWART:
     23                Q.        Right.     You would find that a
     24     description of the study is reliable, assuming

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      1     it didn't change between this draft and the
      2     final report, fair?
      3                A.        The final briefing document,
      4     correct.
      5                Q.        We could look at that to see the
      6     population endpoint methods, results of the
      7     study and so forth, fair?
      8                          MR. SNAPP:       Object to the form.
      9                          THE WITNESS:        Yes.
     10     BY MR. STEWART:
     11                Q.        Do you know if Purdue ever
     12     conducted a study where they took these doctors
     13     that had been identified as potentially involved
     14     in diversion and compared their habits to other
     15     doctors and then used that as a means of
     16     determining other doctors that were probably
     17     involved in diversion?
     18                A.        I missed the --
     19                Q.        Sure.     We just talked about a
     20     study where Purdue compared the prescribing
     21     habits of doctors that were potentially -- had
     22     been identified as potentially involved in
     23     diversion by Purdue and Purdue -- strike that.
     24     Let's get this clear.

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      1                          We just talked about a study
      2     where Purdue took doctors in its Region 0
      3     program that it had already identified as
      4     potentially involved in diversion and compared
      5     them to the broader population of prescribers;
      6     is that what we just talked about?
      7                          MR. SNAPP:       Object to the form.
      8                          THE WITNESS:        Yes.
      9     BY MR. STEWART:
     10                Q.        And there what Purdue is trying
     11     to suggest is that diversion among these doctors
     12     associated with diversion had gone down, fair?
     13                          MR. SNAPP:       Object to the form.
     14                          THE WITNESS:        We're showing
     15                the -- what happens to the prescriptions
     16                among those doctors after the
     17                reformulation.         That's what we're
     18                showing.
     19     BY MR. STEWART:
     20                Q.        So you've got these
     21     characteristics of doctors that Purdue suspects
     22     as being involved in diversion.
     23                          Do you know if Purdue ever looked
     24     at the other doctors in its population of

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      1     prescribers to find out which ones met the same
      2     criteria in terms of cash payments, high levels
      3     of prescribing, prescribing high dose OxyContin
      4     to find other doctors that potentially should be
      5     investigated for diversion?
      6                          MR. SNAPP:       Object to form.
      7                          THE WITNESS:        So we have that ADD
      8                program, it continues to be on, but I'm
      9                not aware of whether or not that
     10                particular study was done.
     11     BY MR. STEWART:
     12                Q.        The ADD program, you're talking
     13     about the program that directs salespeople to
     14     report people in certain instances, correct?
     15                A.        Correct.
     16                          (Document marked for
     17                identification as Exhibit Fanelli-24.)
     18     BY MR. STEWART:
     19                Q.        Turn to exhibit marked 24.             Do
     20     you see that it's an e-mail and the Bates stamp
     21     number is -- ends in the number 2514?
     22                A.        I see that.
     23                Q.        And do you recognize this e-mail?
     24                A.        I need to look at it first.

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      1     (Witness reviews document.)
      2                Q.        And I'd suggest you look at the
      3     second page marked 2515.
      4                A.        (Witness reviews document.)
      5                          I looked at that.
      6                Q.        Do you see there's an e-mail and
      7     you're on it dated June 26, 2003?
      8                A.        Yes.
      9                Q.        Do you see it's entitled -- the
     10     subject is "professional associations and the
     11     potential FDA hearing"?
     12                A.        Yes.
     13                Q.        Do you see that the third
     14     paragraph outlines a series of organizations
     15     that Purdue is going to coordinate with in
     16     preparation for an FDA hearing?
     17                          MR. SNAPP:       Object to the form.
     18                          THE WITNESS:        That appears to be
     19                what that is, although I don't recall
     20                this e-mail.
     21     BY MR. STEWART:
     22                Q.        Okay.     And do you see at the
     23     bottom in paragraph marked 5 it says, "Pamela
     24     will work with Richard Fanelli who was

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      1     identified as the 'holder of the information' to
      2     ensure that he has all the names/contact
      3     information for those who have been contacted."
      4                          Do you see that?
      5                A.        I do.
      6                Q.        Is that a role you would
      7     typically play as kind of keep track of all of
      8     these organizations that were enlisted in the
      9     effort to communicate with the FDA?
     10                          MR. SNAPP:       Object to the form.
     11                          THE WITNESS:        No.    My role,
     12                although I don't recall this, so, as I
     13                read it, my -- if there is an FDA
     14                meeting and we were communicating with
     15                FDA about such organizations, I would
     16                provide that communication to FDA.
     17     BY MR. STEWART:
     18                Q.        Okay.     So would you be
     19     interacting with groups like the American
     20     Academy of Family Practice, the American Pain
     21     Foundation and so forth?
     22                A.        Not at all.
     23                Q.        Who would do that?
     24                A.        Groups in our -- for instance,

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      1     Pam Bennett, I don't remember what group she was
      2     in, health professional, like under Dr. Haddox.
      3                Q.        Is it -- is it typical for Purdue
      4     when it's presented with an FDA hearing to
      5     coordinate with a whole bunch of allied groups,
      6     such as the groups listed, to enhance the
      7     communications before the agency?
      8                          MR. SNAPP:       Object to the form.
      9                          THE WITNESS:        It depends on what
     10                the purpose of the public meeting is.
     11     BY MR. STEWART:
     12                Q.        So at times Purdue will reach out
     13     to allies and get them to come and participate
     14     as is being organized in this document that's
     15     before you?
     16                          MR. SNAPP:       Object to the form.
     17                          THE WITNESS:        Again, there are
     18                times when we would -- we have outside
     19                experts talking.         It depends on what
     20                the -- for instance, in an advisory
     21                committee, Rick Dart from RADARS, you
     22                know, presented for us, those kinds of
     23                things.      And I don't know what the --
     24                I'm reading the title.            I don't know

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      1                what the potential FDA was -- I don't
      2                recall this potential FDA hearing.
      3     BY MR. STEWART:
      4                Q.        I notice the American Pain
      5     Foundation is one of the groups listed.
      6                          Is that a group that you've --
      7     that Purdue, in your experience, has coordinated
      8     with more than once?
      9                A.        I don't know the details of our
     10     coordination with the American Pain Foundation.
     11                Q.        We'd have to talk to somebody in
     12     the group run by Dr. Haddox probably to figure
     13     out what sort of coordination was done?
     14                          MR. SNAPP:       Object to the form.
     15                          THE WITNESS:        I'm not sure where
     16                that resides, we've had changes
     17                recently, but that type of function.
     18     BY MR. STEWART:
     19                Q.        Dr. Haddox would head that up?
     20                A.        Had in the past, I'm not sure if
     21     he does today.
     22                          (Document marked for
     23                identification as Exhibit Fanelli-25.)
     24

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      1     BY MR. STEWART:
      2                Q.        Turn to Exhibit 25.
      3                          Do you see it's an e-mail from
      4     Beth Conley to you and your response dated
      5     December 17th, 2009?
      6                A.        Yes.
      7                Q.        And do you see she's forwarding
      8     comments to a document "Providing Relief
      9     Preventing Abuse" brochure?
     10                A.        Yes.
     11                Q.        And she says, "Do you want to
     12     weigh in since nonbranded," and you say "nope."
     13                A.        Correct.
     14                Q.        And you didn't deal with
     15     nonbranded items?
     16                          MR. SNAPP:       Object to the form.
     17                          THE WITNESS:        I have dealt with
     18                nonbrand -- it depends on -- we talked
     19                earlier, different projects have
     20                different representations.             I believe --
     21                when did Beth -- I think Beth reported
     22                to me at this time.           We talked earlier,
     23                as a supervisor, I might provide input.
     24                I don't recall why I said no.               Was it

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      1                because Beth had already done it?                I
      2                actually don't remember the details.
      3     BY MR. STEWART:
      4                Q.        So it might have fallen within
      5     your area, you just don't know why, in this
      6     particular case, you didn't feel the need?
      7                A.        Correct.
      8                Q.        Okay.     Let me ask you, could you
      9     turn to page 1609.          Do you recognize the
     10     document Providing Relief Preventing Abuse?
     11                A.        I do not.
     12                Q.        Do you see it says "Provided as
     13     an educational service by Purdue"?
     14                A.        Where is that?        Yeah, I see it on
     15     the left side there.
     16                Q.        Would that still be a nonbranded
     17     document if it has that indicator on it with the
     18     company logo?
     19                A.        Definition, it's in the SOP, but
     20     definition of brand, it's not exact, but
     21     includes when a -- one of our prescription drugs
     22     is mentioned in the piece.
     23                Q.        So the point is if it doesn't
     24     mention OxyContin by name, but merely talks

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      1     about pain and opioids, it would be nonbranded?
      2                A.        In general, yes.
      3                Q.        Turn to page 1607.
      4                          Do you have a Material Review
      5     Form like this for any document of this sort
      6     that the company is putting through the approval
      7     process?
      8                A.        Ask your question again.
      9                Q.        Well, do you see you have in
     10     front of you a Material Review Form?
     11                A.        Yes.
     12                Q.        Okay.     What is the purpose of a
     13     Material Review Form?
     14                A.        So it's to -- now we do this
     15     electronically, but it has -- it gives
     16     identification of the products, who is going to
     17     use the products, the target audience, and then
     18     there's the individuals who review it with their
     19     determination of whether they sign off, for
     20     instance.
     21                Q.        Okay.     And this is a way you can
     22     look at one of these forms and see who has
     23     looked at this document and what they've done;
     24     is that fair?

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      1                A.        Yes, yes.
      2                Q.        So you see JDH down here has
      3     reviewed it, that's Haddox?
      4                A.        Dr. Haddox, yes, I see that.
      5                Q.        Question about the document
      6     itself, could you turn to page 1615?
      7                A.        Sorry, 16?
      8                Q.        15.
      9                A.        15.
     10                Q.        Do you see that?
     11                A.        Yes.
     12                Q.        Do you see there are all sorts of
     13     handwritten notes on the document?
     14                A.        I see that.
     15                Q.        Is this typical where people --
     16     the people that review the document will mark it
     17     up, provide notes and develop the final
     18     language?
     19                A.        Correct.
     20                Q.        So any of these documents goes
     21     through this formal process?
     22                A.        Yes.
     23                Q.        Do you see where someone has put
     24     a bunch of Xs through the section that's

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      1     entitled "Pseudoaddiction"?
      2                A.        Yeah, I see that.
      3                Q.        Do you know why in 2009 someone
      4     was putting a bunch of Xs through
      5     pseudoaddiction?
      6                A.        I do not know.
      7                Q.        Okay.     Are you familiar with the
      8     concept of pseudoaddiction?
      9                A.        Yes.
     10                Q.        Is it a scientifically recognized
     11     concept?
     12                          MR. SNAPP:       Object to the form.
     13                          THE WITNESS:        I don't have an
     14                answer for that.
     15     BY MR. STEWART:
     16                Q.        Why not?
     17                A.        Pseudoaddiction is a -- was a
     18     description of -- I think we talked about that
     19     earlier too, of pharmacological and responses to
     20     medicines, and it's -- I don't believe it's
     21     being used today.
     22                Q.        All right.       I mean, it's
     23     something that Dr. Haddox came up with, right;
     24     he's the father of that concept?

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      1                          MR. SNAPP:       Object to the form.
      2                          THE WITNESS:        I'm not aware of
      3                that.
      4     BY MR. STEWART:
      5                Q.        As far as you know, as head of
      6     regulatory affairs for Purdue, there's never
      7     been an actual scientific study supporting the
      8     concept of pseudoaddiction, right?
      9                          MR. SNAPP:       Object to the form.
     10                          THE WITNESS:        I'm not aware of
     11                whether or not there has been one.
     12     BY MR. STEWART:
     13                Q.        You couldn't name one today, as
     14     we're sitting here?
     15                A.        That's correct.
     16                Q.        And you're not aware, to make it
     17     clear, that there has been such a study?
     18                A.        Correct.
     19                Q.        Could you turn to Exhibit 53,
     20     which I think your counsel has pulled out of the
     21     pile.
     22                A.        I have 53 here.
     23                Q.        We looked at this before.
     24                          Could you turn to page 106?

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      1                          MR. SNAPP:       I'm sorry, could we
      2                wait one second.         Just had to check his
      3                insulin pump.
      4                          THE WITNESS:        No problem, I did.
      5                So if we don't finish in the next 15
      6                minutes or so.
      7                          MR. STEWART:        We're going to
      8                finish in the next two minutes.
      9                          THE WITNESS:        Okay.    Sorry, so
     10                where?
     11     BY MR. STEWART:
     12                Q.        Turn to page that's marked Bates
     13     number 3106.
     14                          Do you see this is one of a
     15     number of pages in this document that lists a
     16     study?
     17                A.        Yes.
     18                Q.        And this document, the overall
     19     exhibit, is your routing letter and a study that
     20     purports to gather and summarize a series of
     21     studies on a particular topic, fair?
     22                A.        It's a review of those, yes.
     23                Q.        And I take it if a study is not
     24     viewed as at least scientific, part of the

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      1     scientific inquiry, you wouldn't list it?
      2                A.        I wouldn't characterize it that
      3     way, so this --
      4                Q.        How would you characterize it?
      5                A.        This is a review of the
      6     literature in order to, you know, provide
      7     information related to the topic.                If you're
      8     going to do a complete literature review would
      9     include all the publications -- could include
     10     all the publications with the description of the
     11     limitations, plus and minuses.               So I'm not
     12     aware, and I'd have to read it more carefully to
     13     understand, is this a complete literature
     14     description or did they select and so forth.
     15                Q.        We'd have to look at the document
     16     that would describe --
     17                A.        Yes.
     18                Q.        -- how that worked?
     19                          Here's a question, turn to page
     20     3121.
     21                A.        Got it.
     22                Q.        Do you see that on the last -- in
     23     the first section numbered 5.1.1, if you look at
     24     the last -- second to last sentence it says,

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      1     "Two studies highlighted below used randomized
      2     patient populations and higher quality design
      3     and methodologies compared to the other
      4     published studies."
      5                          Do you see that?
      6                A.        Yes.
      7                Q.        And so I think would you agree
      8     it's referring to study 1, Adams and study 2,
      9     Naliboff?
     10                A.        Yes.
     11                Q.        Okay.     Are you familiar with the
     12     Adams study?
     13                A.        No, I am not.
     14                Q.        Do you know who Adams is?
     15                A.        No.
     16                Q.        If I wanted to know whether the
     17     authors of the Adams study had received money
     18     from Purdue, how would I do that?
     19                A.        I'm not aware -- there's the
     20     Sunshine Act where, although it would depend on
     21     if that person was a prescriber, so I'm not
     22     aware of the details of how to find that out.
     23                Q.        Who at Purdue would have -- would
     24     be the person to ask whether the author of a

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      1     particular study was on Purdue's payroll or had
      2     received money or something of value from
      3     Purdue?
      4                          MR. SNAPP:       Object to the form.
      5                          THE WITNESS:        That would be our
      6                compliance department.
      7     BY MR. STEWART:
      8                Q.        What human being today?
      9                          MR. SNAPP:       Object to the form.
     10                          THE WITNESS:        Maggie Feltz is the
     11                head of that group.
     12                          MR. STEWART:        I've got nothing
     13                further.      Thank you.
     14                          THE VIDEOGRAPHER:          Off the
     15                record?
     16     BY MR. SNAPP:
     17                Q.        Dr. Fanelli, I just have a few
     18     follow-up questions.
     19                          First of all, I just wanted to
     20     clarify, I'm handing you what's been marked as
     21     Deposition Exhibit 2, and I just want to clarify
     22     for the record, does that Exhibit 2, which is
     23     your CV, and I think you testified it's your
     24     current CV, does it include your current

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      1     position?
      2                A.        No, it does not.         I don't know if
      3     I've updated it, but the only thing that's not
      4     on here is my appointment in 2014 as the head of
      5     regulatory affairs.
      6                Q.        Thank you.
      7                          You were asked some questions by
      8     counsel earlier this afternoon about Purdue
      9     Pharma and Rhodes Pharma, and you gave some
     10     testimony about the boards of directors.
     11                          Do you know, sitting here today,
     12     who is on the boards of directors of Rhodes and
     13     Purdue Pharma?
     14                A.        I do not know the list.
     15                          MR. SNAPP:       I have no further
     16                questions.
     17                          MR. CRUEGER:        Nothing here.
     18                          MR. SNAPP:       Off the record.
     19                          THE VIDEOGRAPHER:          Stand by.
     20                Okay.     The time is 5:23 p.m., going off
     21                the record.
     22                          (Witness excused.)
     23                                    _ _ _
     24

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      1               C E R T I F I C A T I O N
      2                          I, MARGARET M. REIHL, a
      3                Registered Professional Reporter,
      4                Certified Realtime Reporter, Certified
      5                Shorthand Reporter, Certified LiveNote
      6                Reporter and Notary Public, do hereby
      7                certify that the foregoing is a true and
      8                accurate transcript of the testimony as
      9                taken stenographically by and before me
     10                at the time, place, and on the date
     11                hereinbefore set forth.
     12                                 I DO FURTHER CERTIFY that I
     13                am neither a relative nor employee nor
     14                attorney nor counsel of any of the
     15                parties to this action, and that I am
     16                neither a relative nor employee of such
     17                attorney or counsel, and that I am not
     18                financially interested in the action.
     19

     20

     21     -------------------------------

            Margaret M. Reihl, RPR, CRR, CLR
     22     CSR #XI01497       Notary Public
     23

     24

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      1                           -   -    -   -   -   -
      2                               E R R A T A
      3                           -   -    -   -   -   -
      4     PAGE    LINE     CHANGE
      5     ____    ____     ____________________________
      6     REASON:     ____________________________
      7     ____    ____     ____________________________
      8     REASON:     ____________________________
      9     ____    ____     ____________________________
     10     REASON:     ____________________________
     11     ____    ____     ____________________________
     12     REASON:     ____________________________
     13     ____    ____     ____________________________
     14     REASON:     ____________________________
     15     ____    ____     ____________________________
     16     REASON:     ____________________________
     17     ____    ____     ____________________________
     18     REASON:     ____________________________
     19     ____    ____     ____________________________
     20     REASON:     ____________________________
     21     ____    ____     ____________________________
     22     REASON:     ____________________________
     23     ____    ____     ____________________________
     24     REASON:     ____________________________

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      1                    ACKNOWLEDGMENT OF DEPONENT
      2

      3                          I, RICHARD J. FANELLI, Ph.D., do
      4                hereby certify that I have read the
      5                foregoing pages, and that the same is a
      6                correct transcription of the answers
      7                given by me to the questions therein
      8                propounded, except for the corrections
      9                or changes in form or substance, if any,
     10                noted in the attached Errata Sheet.
     11

     12

     13

            ___________________________________________
     14     RICHARD J. FANELLI, Ph.D.                           DATE
     15

            Subscribed and sworn to before me this
     16

            _____ day of ______________, 2018.
     17

            My commission expires:______________
     18

     19     ___________________________________
            Notary Public
     20

     21

     22

     23

     24

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